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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

MARIE BAPTISTE,                    )
MITCHELL MATORIN, and              )
JONATHAN DAPONTE,                  )
     Plaintiffs,                   )
                                   )
          v.                       )   C.A. No. 1:20-cv-11335-MLW
                                   )
MIKE KENNEALY, in his              )
official capacity as               )
Secretary of the Executive         )
Office of Housing and              )
Economic Development, and          )
CHARLES BAKER, in his              )
official capacity as Governor      )
of the Commonwealth of             )
Massachusetts,                     )
     Defendants.                   )

                        MEMORANDUM AND ORDER

WOLF, D.J.                                         September 25, 2020


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     SUMMARY

     This is an unusually complex and challenging case. 1 It arises

out of legislation enacted on April 20, 2020, by the Commonwealth

of Massachusetts, in response to the then-emerging pandemic of

coronavirus disease caused by the SARS-CoV-2 virus (COVID-19). The

legislation, in pertinent part, establishes a temporary moratorium

on residential evictions. This case presents issues of federal

constitutional law that are not often litigated. These include

whether and to what extent legislation that might ordinarily

violate   the   United   States   Constitution   is   permissible   in   an

emergency. The case also involves fundamental issues concerning




1    This Memorandum explains the decisions concerning plaintiffs'
Motion for Preliminary Injunction which the court discussed at the
hearing on September 10, 2020. The court disclosed its decisions
so the parties could begin preparing for the future litigation of
this case. The court also noted that, as explained in this
Memorandum, changing facts, including possibly the passage of
time, could render unconstitutional further extensions of the
legislation enacted on April 20, 2020 in response to the then-
emerging COVID-19 pandemic, even though the legislation will
probably be found to have been constitutional as of the date of
enactment.

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the relative roles and responsibilities of elected officials and

the courts generally and in an emergency particularly.

     On   March   10,   2020,   Massachusetts    Governor    Charles    Baker

declared a State of Emergency in response to the then-recent

outbreak of COVID-19. The Governor subsequently issued a series of

emergency orders and advisories to cause people to stay home to

the maximum extent possible. These directions were based on the

growing understanding that the COVID-19 virus is transmitted from

individuals to others in close proximity to them and, therefore,

of the importance of persons' staying at least six feet apart -–

"social distancing" –- to limit the spread of the virus.

     Tenant   advocacy      groups,   among    others,     were    seeking   a

moratorium on evictions, arguing that they would result in the

overcrowding of shared dwellings and homeless shelters, and more

people living on the streets. Such conditions would have been

injurious to the effort to limit the spread of the COVID-19 virus.

     By April 20, 2020, schools were closed. Many businesses were

also closed, causing many people to be unemployed. In addition,

beginning in mid-March 2020, state trial courts, including the

Massachusetts Housing Court, were closed to the public, except for

emergency hearings that could not be conducted by telephone or

videoconference.    State    courts   were    postponing   other    business,

including non-emergency summary process eviction cases.




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     On April 20, 2020, Massachusetts enacted an "Act Providing

for a Moratorium on Evictions and Foreclosures during the COVID-

19 Emergency," 2020 Mass. Legis. Serv. Ch. 65 (H.B. 4647) (West)

(the "Act" or the "Moratorium") (copy filed at Dkt. No. 67-1, at

139 of 150). Among other things, the Act prohibits all "non-

essential" evictions, including residential evictions for failure

to pay rent. In addition, the Act prohibits landlords from sending

tenants "notices to quit," which are the first step required to

obtain expedited summary process evictions. 2 The Act also prohibits

landlords from sending tenants any notice demanding or requesting

that a tenant who has not paid rent leave the landlord's property.

Moreover, the Act prohibits the Massachusetts courts, including

the Housing Court, from accepting for filing any summary process

case or taking action in any pending summary process case.

     Regulations     promulgated      pursuant   to    the    Act   encourage

landlords to provide tenants with notice of how much rent they

owe. However, they mandate that any such notice refer tenants to

websites   with    information   on    how   tenants    can    contact   non-

governmental organizations that advocated for the Moratorium and




2    A notice to quit satisfying the statutory requirements and
sent for the purposes of initiating summary process eviction
proceedings is sometimes referred to in this Memorandum as a
"statutory notice to quit."


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could provide legal assistance to tenants attempting to frustrate

a landlord's efforts to regain possession of his or her property.

     The Moratorium was scheduled to expire on August 18, 2020.

However, the statute gives the Governor the authority to extend

the Moratorium further for an unlimited number of periods of up to

90 days without further action by the legislature, provided the

declared State of Emergency has not been terminated.

     In July 2020, the Governor extended the Moratorium to October

17, 2020. In a July 21, 2020 letter notifying the legislature, the

Governor stated the reasons for the extension in one paragraph:

     The Act's limitations on evictions and foreclosures have
     allowed many tenants and homeowners impacted by COVID-
     19 to remain in their homes during the state of
     emergency. I am confident that this action, coupled with
     federal assistance, helped to slow the spread of COVID-
     19 while minimizing the impact to date on vulnerable
     families and on our housing market. The extension I am
     declaring   today   will   provide   residents   of  the
     Commonwealth   with   continued   housing   security  as
     businesses cautiously re-open, more people return to
     work, and we collectively move toward a "new normal."

Letter from Gov. Baker to House Speaker DeLeo & Sen. Pres. Spilka
(July 21, 2020) (copy filed at Dkt. No. 30-2).

     In the following paragraph, the Governor stated that:

     I am aware that the extension I am declaring today will
     impact many small landlords who rely on rental income to
     pay their own expenses. I strongly encourage tenants to
     continue to pay rent, and homeowners to make their
     mortgage payments, to the extent they are able while the
     moratori[um] remain[s] in place.




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Id. However, the Moratorium Act does not require that tenants

certify that they are unable to pay rent, for COVID-19-related

reasons or any others, to be protected from eviction.

     Plaintiffs Marie Baptiste, Mitchell Matorin, and Jonathan

DaPonte are landlords in Massachusetts. Baptiste is a nurse from

Haiti who served a notice to quit before the Moratorium on tenants

who had not paid rent since October 2019. She is now owed $21,000.

Prior to the Moratorium, Matorin had also served a notice to quit

on his tenants who did not pay rent for February 2020. They owed

him $8,400 as of August 2020. DaPonte is a disabled Iraq War

veteran who as of August 2020 was owed more than $4,000 rent by a

tenant who told him "you can't evict me so I am not paying shit."

     Plaintiffs allege that the Moratorium violates their rights

under   the   United   States   Constitution    in   five   ways.      More

specifically, they contend that the Moratorium: (1) violates the

Contracts Clause in Article I, §10, which prohibits states from

passing laws that impair the obligations of contracts; (2) takes

their property without paying just compensation as required by the

Fifth Amendment; (3) denies them their right to access to the

courts in violation of the First Amendment; (4) violates their

First Amendment right to free speech by prohibiting them from

sending notices to quit and other notices; and (5) violates the

First Amendment because if they want to inform tenants of how much

rent they owe plaintiffs are compelled to tell their tenants how


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to contact the groups that advocated for the Moratorium and will

assist them in attempting to frustrate plaintiffs' efforts to

regain possession of their property.

       Plaintiffs moved for a declaratory judgment and a preliminary

injunction on all five counts, which the defendants opposed. The

court denied defendants' request that it abstain in view of a case

in the courts of the Commonwealth of Massachusetts alleging that

the     Moratorium      violates          the        Massachusetts          constitution,

specifically,        Articles      10,    11       and    30   of    the    Massachusetts

Declaration of Rights, which address, respectively, takings of

real estate, access to the courts, and separation of powers.

       The   court    explored      whether         the   parties        could    engage    in

expedited     discovery       so   that    the       hearing        on   the     motion    for

preliminary injunction could be consolidated with the trial on the

merits pursuant to Federal Rule of Civil Procedure 65(a)(2). Both

plaintiffs and defendants opposed this proposal. In contrast to

the case challenging New York's COVID-19 eviction moratorium, the

parties here could not agree on stipulated facts for the purpose

of    cross-motions     for     summary    judgment.           Compare     Elmsford       Apt.

Assocs., LLC v. Cuomo, No. 20-cv-4062 (CM), 2020 WL 3498456, *1

(S.D.N.Y. June 29, 2020). Nor, in contrast to a case involving the

Connecticut COVID-19 eviction moratorium, could they agree on a

stipulated record for the purpose of the motion for preliminary

injunction. Compare Auracle Homes, LLC v. Lamont, No. 3:20-cv-


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00829 (VAB), 2020 WL 4558682, *9 (D. Conn. Aug. 7, 2020). In any

event, the court held five days of hearings on the complex issues

presented by the motion for preliminary injunction.

     To obtain a preliminary injunction a plaintiff must prove a

reasonable likelihood of success on the merits of the claim at

issue. A failure to do so is the end of the inquiry concerning a

preliminary injunction based on that claim. If plaintiffs prove a

reasonable likelihood of success on the merits of a claim, the

court   must   decide    whether   there   is     an    imminent    threat   of

irreparable harm if an injunction is not issued. If so, the court

must also consider the balance of hardships and the public interest

in deciding whether a preliminary injunction is justified.

     The   inherently     challenging    nature    of    the   constitutional

questions in this case has been enhanced by the evolving facts

since the enactment of the Moratorium on April 20, 2020. The motion

for preliminary injunction and subsequent briefing focused on

conditions that existed when the Moratorium was enacted and when

the related regulations at issue were promulgated soon after. When

the Governor extended the Moratorium to October 17, 2020, a First

Amended Complaint, with several additional paragraphs addressing

the fact of the extension, was filed. Recent submissions by the

parties    include      some   information      concerning         developments

concerning the COVID-19 pandemic and governmental responses to it,

such as the federal moratorium on certain evictions ordered by the


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Centers for Disease Control and Prevention (the "CDC") and the

Department of Health and Human Services on September 4, 2020. See

"Temporary Halt in Residential Evictions to Prevent the Further

Spread of COVID-19," 85 Fed. Reg. 55292 (copy filed at Dkt. No.

110-1)   (the   "CDC   Moratorium").    However,    the    implications        of

changing facts concerning the impact of the pandemic on public

health and the Massachusetts economy have not been adequately

addressed by the parties. Therefore, in ruling on plaintiffs'

motion for preliminary injunction the court is deciding only

whether plaintiffs have a reasonable likelihood of succeeding on

the merits of their claims that the Moratorium and regulations

violated plaintiffs' rights under the United States Constitution

when enacted and promulgated in April 2020.

     In doing so, it is necessary for the court to resolve disputed

issues   concerning    the   standard     to   be   applied       in    deciding

plaintiffs'     likelihood    of   prevailing       on     each        of   their

constitutional    claims.    Plaintiffs    generally      argue    that     their

claims require strict scrutiny of the Moratorium and that it fails

that test because there were in April 2020 ways less burdensome

for landlords to serve the admittedly significant state interest

in combatting the pandemic. Defendants generally argue either that

the Moratorium did not affect plaintiffs' rights under the relevant

constitutional provisions or that only a rational basis is required

to find the Moratorium constitutionally valid. As explained in


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this Memorandum, distinct tests apply to each of plaintiffs'

claims. None are subject to strict scrutiny. 3 Plaintiffs' claims

concerning the Article I Contracts Clause, the Fifth Amendment

Takings Clause, and the First Amendment Right to Petition Clause

are subject to rational basis review. Their First Amendment claims

concerning      freedom   of    speech     are   subject      to   more    rigorous

intermediate scrutiny.

       As explained in detail in this Memorandum, plaintiffs have

not proven that they are reasonably likely to prevail on four of

their claims that the Moratorium and related regulations were

unconstitutional when enacted in April 2020. They are reasonably

likely to prevail on their claim that paragraph 2 of 400 Mass.

Code    Regs.    [C.M.R.]      §5.03(2)    compels     plaintiffs     to    provide

information concerning their adversaries in violation of the First

Amendment. This is a form of irreparable harm. See, e.g., Elrod v.

Burns, 427 U.S. 347, 373 (1976); Sindicato Puertorriqueño de

Trabajadores     v.   Fortuño,    699     F.3d   1,   10–11   (1st   Cir.   2012).

Therefore, a preliminary injunction will be entered on this issue




3    If, contrary to the court's conclusion, strict scrutiny is
required, the Moratorium would probably be found to be
unconstitutional when enacted. The existence of a federal eviction
moratorium and various state moratoria, which are all evidently
more favorable to landlords than the Massachusetts Moratorium,
indicates that there were on April 20, 2020 less burdensome ways
to prevent evictions in order to reduce the spread of the COVID-
19 virus.


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if defendants do not confirm their representation that they would

comply with a declaration by this court, obviating the need for

the issuance of an injunction. See Aug. 24, 2020 Tr. 9:21-11:6,

62:17-21 (Dkt. No. 108). 4

     The court's ruling on plaintiffs' motion for preliminary

injunction may, as a practical matter, conclude this case. However,

if the Governor extends the Moratorium beyond October 17, 2020, it

may be necessary to decide the case on the merits. Therefore, as

discussed at the September 10, 2020 hearing, the parties are being

ordered to continue to confer and to report by October 2, 2020, at

12:00 noon, concerning how this case should proceed.

     As the court explained on September 10, 2020, changing facts,

including for some claims the mere passage of time, could affect

the ultimate outcome of this case. As Justice Oliver Wendell Holmes

wrote in addressing a rent-control ordinance originally enacted in

1919 as a World War I emergency measure, "[a] law depending upon




4    On September 17, 2020 defendants filed a notice regarding
amendments to the regulations promulgated under the Act. See Dkt.
No. 128. As it indicates, when promulgated, 400 C.M.R. §5.06
provided that the regulation would expire 120 days after the
Moratorium was enacted, meaning on August 18, 2020. Section 5.06(2)
authorizes defendant Kennealy, the Secretary of EOHED, to extend
the effective period of the regulations. He did not do so until
September 17, 2020. See Dkt. No. 128-1. Therefore, it appears that
plaintiffs will in this case probably prove that their First
Amendment rights were violated for two months by a regulation that
had expired without any notice to the public that it was no longer
in effect.


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the existence of an emergency or other certain state of facts to

uphold it may cease to operate if the emergency ceases or the facts

change     even   though    valid     when      passed."   Chastleton     Corp.    v.

Sinclair, 264 U.S. 543, 547-48 (1924). Chief Justice Harlan Fiske

Stone reiterated this principle in United States v. Carolene

Products     Co.,   304     U.S.    144,   153    (1938),     writing    that     "the

constitutionality of a statute predicated upon the existence of a

particular state of facts may be challenged by showing to the court

that those facts have ceased to exist." The First Circuit said the

same as recently as April 2020. See United States v. Vaello-Madero,

956 F.3d 12, 23 (1st Cir. 2020).

       In deciding whether plaintiffs are likely to prove that the

Moratorium was unconstitutional when enacted in April 2020, this

court has been mindful of Chief Justice John Roberts' recent

statement in South Bay United Pentecostal Church v. Newsom, 140 S.

Ct. 1613 (2020). On May 29, 2020, the Supreme Court denied an

application       seeking    an     injunction      against     the    Governor    of

California's      COVID-19    emergency         order   limiting      attendance   at

places of worship. Id. In his concurrence, the Chief Justice noted

that    "[t]he    Order    places    temporary      numerical    restrictions       on

public gatherings to address this extraordinary health emergency."

Id. (emphasis added). The Chief Justice then wrote:

       The precise question of when restrictions on particular
       social activities should be lifted during the pandemic
       is a dynamic and fact-intensive matter subject to


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     reasonable disagreement. Our Constitution principally
     entrusts "[t]he safety and the health of the people" to
     the politically accountable officials of the States "to
     guard and protect." Jacobson v. Massachusetts, [197 U.S.
     11, 38] (1905). When those officials "undertake[] to act
     in   areas   fraught   with   medical    and  scientific
     uncertainties," their latitude "must be especially
     broad." Marshall v. United States, [414 U.S. 417, 427]
     (1974). Where those broad limits are not exceeded, they
     should not be subject to second-guessing by an
     "unelected   federal   judiciary,"    which  lacks   the
     background, competence, and expertise to assess public
     health and is not accountable to the people. See Garcia
     v. San Antonio Metropolitan Transit Authority, [469 U.S.
     528, 545] (1985).

     That is especially true where, as here, a party seeks
     emergency relief in an interlocutory posture, while
     local officials are actively shaping their response to
     changing facts on the ground. The notion that it is
     "indisputably clear" that the Government's limitations
     are unconstitutional seems quite improbable. 5

Id. at 1613-14 (emphases added).

     As reflected in cases cited in this Memorandum, the principle

that judicial deference is due to decisions of elected officials

in an emergency in ruling on certain constitutional claims has a

long history. However, it should be recognized that the Chief

Justice noted that the emergency order at issue in South Bay was

"temporary;" although "broad," there are constitutional "limits"

to the authority of elected officials in an emergency; and courts




5    The "indisputably clear" standard does not apply to the
instant motion for a preliminary injunction. Instead, plaintiffs
must prove only a likelihood of success on the merits to be
eligible for injunctive relief.


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expect   that    elected   officials      will   "actively    shap[e]    their

response to changing facts on the ground." Id.

      As the Supreme Court wrote in 1905, in the seminal Jacobson

case concerning the broad authority of the state to take action to

protect public health, laws and regulations may be "so arbitrary

and oppressive in particular cases[] as to justify the interference

of the courts to prevent wrong and oppression." 197 U.S. at 38.

Two judges of the United States District Court for the District of

Massachusetts have found constitutional protections to have been

violated by Massachusetts officials in their response to the COVID-

19 pandemic. In United States v. McCarthy, while recognizing that

a degree of deference is due to the Governor, Judge Douglas

Woodlock preliminarily enjoined a temporary prohibition of the

sale of firearms in shops because of the burden it imposed on the

Second Amendment right to possess firearms. See Am. Prelim. Inj.

Order (Dkt. No. 92) and May 7, 2020 Tr. 50-60 (Dkt. No. 93), United

States v. McCarthy, C.A. No. 20-10701-DPW (D. Mass. May 7, 2020).

In ACA International v. Healey, C.A. No. 20-10767-RGS, 2020 WL

2198366, *8-9 (D. Mass. May 6, 2020), Judge Richard Stearns found

the Attorney General's regulation creating a moratorium on efforts

to   collect    debts   violated   the    Petition   Clause   of   the   First

Amendment. Federal judges in other states have also found that

elected officials have violated the Constitution in responding to

the COVID-19 pandemic. See, e.g., Cnty. of Butler v. Wolf, No.


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2:20-cv-677,   2020      WL   5647480,        *3   (W.D.   Pa.    Sept.   22,    2020)

(collecting    decisions         of        federal    courts      finding      invalid

restrictions on religious gatherings).

     In 2004, following the September 11, 2001 attacks by the al

Qaeda terrorist network and the ensuing United States military

action in Afghanistan, the Supreme Court rejected the President's

assertion of authority to hold a United States citizen captured in

Afghanistan in incommunicado detention, stating that "a state of

war is not a blank check for the President." Hamdi v. Rumsfeld,

542 U.S. 507, 536 (2004). Similarly, as McCarthy, ACA, and Butler

indicate, the COVID-19 pandemic is not a blank check for the

Governor and other elected officials.

     Rather,       it   should   be    recognized       that     "a   public    health

emergency does not give Governors and other public officials carte

blanche to disregard the Constitution for as long as the medical

problem persists. As more medical and scientific evidence becomes

available, and as States have time to craft policies in light of

that evidence, courts should expect policies that more carefully

account for constitutional rights." Calvary Chapel Dayton Valley

v. Sisolak, 140 S. Ct. 2603, 2605 (2020) (Alito, J., dissenting).

See also Cnty. of Butler v. Wolf, No. 2:20-cv-677, 2020 WL 5510690,

*7 (W.D. Pa. Sept. 14, 2020).

     In other words, in deciding how to exercise their broad

discretion    in    responding        to    the    evolving    COVID-19     pandemic,


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elected officials have a duty to consider the limitations imposed

by the Constitution, rather than merely to rely on courts to remedy

any violations of it. As Justice Anthony Kennedy has written, "the

very fact that an official may have broad discretion . . . makes

it all the more imperative for him or her to adhere to the

Constitution and to its meaning and promise." Trump v. Hawaii, 138

S. Ct. 2392, 2424 (2018) (Kennedy, J., concurring).

       The degree to which future decisions by elected officials

concerning the Moratorium will deserve and receive deference from

the court will be influenced by the degree to which they manifest

consideration of the requirements of the Constitution and also of

the implications of changed relevant facts. In East New York

Savings Bank v. Hahn, 326 U.S. 230 (1945), the Supreme Court upheld

the continuation of a New York moratorium on foreclosures enacted

in    1933   in   response   to   the   Great   Depression.      Justice   Felix

Frankfurter explained that continued deference to the judgment of

the    legislature    concerning    the      need   for   the   moratorium   was

justified because:

       [H]ere there was no "studied indifference to the
       interests of the mortgagee or to his appropriate
       protection." . . . The whole course of the New York
       moratorium legislation shows the empiric process of
       legislation at its fairest: frequent reconsideration,
       intensive study of the consequences of what has been
       done,   readjustment  to  changing  conditions,   and
       safeguarding the future on the basis of responsible
       forecasts.

Id. at 234-35.


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     Facts concerning the COVID-19 pandemic have changed since

April 2020. Then, as the Governor urged, schools, businesses, and

courts were substantially closed. Now, many businesses have re-

opened, and the Governor is urging schools to teach children in

person. 6 Unemployment in Massachusetts is declining. The state

trial courts, including the Massachusetts Housing Court, are re-

opened. While state courts are continuing to address most matters

virtually, they are scheduled to resume jury trials on a limited

basis in late October 2020 and are already conducting some in-

person   proceedings.   These    developments    are   attributable      to

progress made in limiting the spread of the COVID-19 virus. There

could, however, be a resurgence of it.

     In essence, in deciding whether to extend the Moratorium

beyond October 17, 2020, and perhaps further, the Governor has an

obligation    to   consider,    among   other   things,     whether     the

Moratorium,    which    will     probably    prove     to    have       been

constitutionally permissible when enacted in April 2020, is in

view of changed facts now still compatible with the requirements

of the Constitution. The manner in which such hard decisions are

made and explained, as well as the nature of them, will influence




6    For example, a headline on the front page of yesterday's
Boston Globe states that Governor "Baker pushes districts to get
students back to school." F. Gans & M.E. Irons, Boston Globe (Sept.
24, 2020).


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the degree of deference from the courts that they deserve, and

that may affect the ultimate outcome of this case.

      The decisions of elected officials, and those of the courts,

will also eventually be judged by history. In 1944, the Supreme

Court decided that the internment of United States citizens of

Japanese    descent      during   World    War   II   was    a    constitutionally

permissible military measure. See Korematsu v. United States, 323

U.S. 214 (1944). In 2018, the Supreme Court wrote that Korematsu

"was gravely wrong the day it was decided, has been overruled in

the court of history, and -- to be clear -- 'has no place in law

under the Constitution.'" Trump v. Hawaii, 138 S. Ct. at 2423

(quoting Korematsu, 323 U.S. at 248 (Jackson, J., dissenting)).

      Fortunately, the rights at issue in this case do not involve

the liberty of United States citizens. They are nevertheless

constitutional rights. Hopefully, the decisions made during this

pandemic by the elected officials of Massachusetts and the courts

will not in the future, like Korematsu, be deemed "gravely wrong."

Id.

      FACTS

      The following facts have been proven for the purpose of

deciding plaintiffs' motion for preliminary injunction.

      On   March   10,    2020,   the     Governor    of    the   Commonwealth   of

Massachusetts declared a State of Emergency in response to the

then-recent outbreak of the COVID-19 virus. As of March 10, 2020,


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there were 92 cases of COVID-19 reported in Massachusetts, six

people were hospitalized due to the virus, and no deaths had been

attributed to it. However, the potentially lethal impact of COVID-

19 had been demonstrated in other countries and states.

     In March 2020, it was beginning to be understood that the

COVID-19   virus   is    often      transmitted   from   person   to    person.

Therefore, the Governor, among other things, directed Executive

Branch employees either to cancel in-person meetings or to conduct

them "virtually" by videoconference instead. The Governor urged

private employers to do the same. See Dkt. No. 67-1.

     Many courts in Massachusetts followed the Governor's advice.

On March 17, 2020, the Supreme Judicial Court announced that state

courts would be closed to the public, except to conduct emergency

hearings that could not be conducted by videoconference. By late

April, the state courts had extended these measures through June

1, 2020, and postponed jury trials until at least July 1, 2020.

     By April 2020, it was becoming better understood that the

COVID-19 virus is commonly spread by respiratory droplets expelled

by coughing, sneezing, talking, and breathing. Therefore, public

health officials were then recommending that people engage in

"social distancing" by remaining at least six feet apart.

     The   Governor     and   the    Massachusetts   Department    of    Public

Health issued a series of emergency orders and advisories closing

schools and "non-essential" businesses, and advising people to


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stay at home except for "essential" errands such as buying food.

Many people were out of work or otherwise experiencing financial

difficulty as a result of the pandemic, injuring the ability of

some of them to pay their rent.

     Tenant advocacy groups, including City Life/Vida Urbana, were

seeking the enactment of a moratorium on evictions during the

COVID-19 emergency and beyond. Concern was expressed by those

groups and others that absent a moratorium on evictions, and also

on the threat of evictions, there would be many people displaced,

which   would   result   in   "doubling   up"   in   shared   dwellings,

overcrowding of homeless shelters, and increased homelessness.

Overcrowding would threaten the health of displaced tenants and

everyone with whom they came in contact because people living in

overcrowded housing, defined as households in which the number of

people is greater than the number of rooms, were being found to be

the most likely to become infected with the COVID-19 virus. See

Melnik Aff. ¶¶7, 9-10 (Dkt. No. 30-13). 7 Similarly, individuals

living on the streets would be particularly vulnerable to becoming




7    Defendants have also submitted evidence that communities that
were most overcrowded prior to the pandemic had high concentrations
of people of color and, as of July 20, 2020, they had experienced
the highest rate of COVID-19 infection. Melnik Aff. ¶10 (Dkt. No.
30-13). Plaintiffs do not dispute this fact. However, racial
disparity was not discussed by the parties in the hearings on the
motion for preliminary injunction and, in any event, is not
relevant to any of the constitutional claims at issue in this case.


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infected and likely to spread the COVID-19 virus. See generally

Barocas Aff. (Dkt. No. 30-5); Bartosch Aff. (Dkt. No. 30-6); Bharel

Aff. (Dkt. No. 30-7); Gaeta Aff. (Dkt. No. 30-9); Reardon Aff.

(Dkt. No. 30-14).

     By April 20, 2020, nearly 40,000 people in Massachusetts had

been diagnosed as infected with COVID-19, and nearly 2,000 people

had died. On that date, 3,804 people were hospitalized, and the

state reported 103 new deaths from COVID-19. In addition, for each

day the preceding week, at least 22% -- and on one day 32% -- of

those tested were positive for the virus. Mass. Dep't Pub. Health,

COVID-19            Dashboard             (Apr.          20,            2020),

https://www.mass.gov/doc/covid-19-dashboard-april-20-

2020/download.

     On April 20, 2020, Massachusetts enacted the Moratorium. The

statute was designated an emergency law deemed "necessary for the

immediate preservation of the public convenience" "during the

governor's COVID-19 emergency declaration." See Act Pmbl. (Dkt.

No. 67-1, at 139 of 150). The Act, in pertinent part, prohibits

all terminations of tenancies for the purposes of a "non-essential

eviction" for residential dwellings. Id. §3(a)(i). The Act also

prohibits   the     Massachusetts   courts    from   accepting     a   summary

process    action    for   filing   or    taking   any   action,   including

scheduling any event, for such a non-essential eviction. Id. §3(b).




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"Non-essential evictions" include evictions for failures to pay

rent. Id. §1.

     The Act also prohibits landlords from sending any notice

"requesting or demanding that a tenant of a residential dwelling

vacate the premises," which the court finds to include a written

request to vacate in exchange for a payment from the landlord. Id.

§3(a)(ii). In addition, the Act prohibits a landlord from sending

a tenant a "notice to quit," which is a prerequisite for initiating

a statutory summary process eviction action in the Massachusetts

District Courts or Housing Court. Id.

     The Act states that it does not relieve a tenant from the

obligation    to    pay    rent.       Id.   §3(f).   Nor   does    it    restrict    a

landlord's right to sue for rent that is owed. Id. However, this

right is largely illusory, as tenants who have not paid their rent

for many months because of economic distress -- or, indeed, for

any other reason -- are unlikely to pay a money judgment against

them.

     Following passage of the Act, legislative leaders commented

on its purposes. See Press Release, Mass. Sen. Pres. Karen E.

Spilka,    "Massachusetts        Legislature       Passes   Moratorium       on   Non-

Essential Evictions and Foreclosures Amid COVID-19" (Apr. 17,

2020) (Dkt. No. 67-1, Ex. 26). The State Senate President stated,

"Staying     home    is     an     essential       component   to        ending   this

pandemic . . . ."         Id.    The    House     Speaker   said,   "We     acted    to


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safeguard tenants and homeowners from economic insecurity during

and   for   a   period    after   the   state   of   emergency   ends."   Id.

Representative Kevin Honan, a sponsor of the Act, said, "[T]his is

more than just a housing justice issue, it is a public health

issue. In a time where our collective health and safety depends on

the ability of each and every one of us to shelter in place, the

need for housing stability has never been greater." Id.

      Sponsors of the Moratorium publicly thanked tenant advocacy

groups for their role in shaping and prompting passage of the

legislation. For example, one of the sponsors of the Moratorium

legislation, Representative Mike Connolly, posted an announcement

to his website commending City Life/Vida Urbana for working with

other advocates on the bill. See Press Release, Mass. State Rep.

Mike Connolly, "Introducing legislation to halt evictions and

foreclosures     during     COVID-19     emergency"    (Mar.     13,   2020),

https://www.repmikeconnolly.org/moratorium_evictions_foreclosure

s_coronavirus_emergency_connolly_honan; see also Dkt. No. 67, at

16 n.10.

      The Massachusetts Executive Office of Housing and Economic

Development ("EOHED") promulgated regulations to implement the

Moratorium. The regulations encourage landlords to send tenants

notices concerning how much rent they owe. See 400 C.M.R. §5.03(2).

The regulations require that any such notice state: "THIS IS NOT

A NOTICE TO QUIT. YOU ARE NOT BEING EVICTED AND YOU DO NOT HAVE TO


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LEAVE YOUR HOME." Id. In addition, the regulations require that

any   notice   of   rent   arrearage      include    addresses    for     websites

maintained     by   non-governmental        organizations,       which    contain

information    on   how    tenants   can     contact     other   organizations,

including City Life/Vida Urbana, that could provide the tenants

assistance     in   resisting   their       landlord's     efforts   to    regain

possession of their property. Id.

      The Act banned almost all evictions in Massachusetts until

August 18, 2020. See Act §7. It provides that the Moratorium can

be extended by the Governor in 90-day increments, limited only to

expiration no later than 45 days after the governor lifts the

COVID-19 emergency declaration. Id. In August 2020, the Governor

extended the Moratorium's expiration date to October 17, 2020,

with only the limited explanation quoted earlier.

      The Massachusetts Moratorium is generally more favorable to

tenants than moratoria enacted in other states and the recent

federal    moratorium      ordered   by      the    CDC.   For   example,     the

Massachusetts statute stays litigation in all cases for failure to

pay rent that were initiated before the statute was enacted. At

least some other moratoria brought to the court's attention do not

impose such a stay. Compare, e.g., CDC Moratorium; Conn. Governor's

Exec. Order 7X, "Protection of Public Health and Safety During

COVID-19 Pandemic and Response - Renter Protections" (Apr. 10,

2020), available at https://portal.ct.gov/-/media/Office-of-the-


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Governor/Executive-Orders/Lamont-Executive-Orders/Executive-

Order-No-7X.pdf; Conn. Governor's Exec. Order 7DDD, "Protection of

Public Health and Safety During COVID-19 Pandemic and Response -

Extension of Eviction Moratorium" (June 29, 2020), available at

https://portal.ct.gov/-/media/Office-of-the-Governor/Executive-

Orders/Lamont-Executive-Orders/Executive-Order-No-7DDD.pdf

(collectively    with     Order   7X,    the       "Conn.    Moratorium");      N.Y.

Governor's Exec. Order 202.28, "Continuing Temporary Suspension

and Modification of Laws Relating to the Disaster Emergency" (N.Y.

May 7, 2020), available at https://www.governor.ny.gov/news/no-

20228-continuing-temporary-suspension-and-modification-laws-

relating-disaster-emergency        (the        "N.Y.    Moratorium");        Phila.

Emergency    Housing    Protection      Act    (Bills       No.   200294,   200295,

200302,     200305),    Phila.    City       Council    (2020)       (the   "Phila.

Moratorium"). Similarly, the Massachusetts statute stays all cases

regardless of a tenant's ability to pay rent. Some other moratoria

require   that   to     be   protected       the    tenant    must    qualify    for

unemployment     compensation,     see       N.Y.    Moratorium,       or   provide

evidence of hardship, see CDC Moratorium; N.Y. Moratorium; Conn.

Moratorium; Phila. Moratorium.

     Plaintiffs Baptiste, Matorin, and DaPonte own rental property

in Massachusetts. They are in various stages of the process of

seeking to evict tenants who failed to pay rent.




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     Matorin's tenants had missed two rental payments by February

2020, when he served them with a notice to quit, and then a summary

process summons and complaint. His original trial date of March

26, 2020 has been postponed until at least October 18, 2020 by the

Moratorium. As of August 2020, Matorin was owed $8,400. He is

struggling to pay the mortgage, taxes, and expenses for his rental

property. He has discovered that one of his tenants has moved out,

and the remaining tenant has allowed his brother to move in. The

lease prohibits occupancy by anyone other than the named tenants.

However, Matorin is prevented by the Moratorium from sending a

notice to quit or filing a new summary process action because he

would be seeking a "non-essential" eviction.

     Baptiste is a nurse who immigrated to the United States from

Haiti. Her tenants have not paid rent since October 2019. She also

served a notice to quit on her tenants before the Moratorium but

has not been able to initiate a summary process action to evict

her tenants. As of August 2020, Baptiste was owed $21,000 in unpaid

rent. She has been struggling to pay her own mortgage and living

expenses. Baptiste has paid a penalty and taken at least one loan

from her retirement accounts to pay her bills.

     DaPonte is a disabled Iraq War veteran who works as a funeral

director. His tenants did not pay rent on April 1, 2020. He

believes they are still working and have not suffered any COVID-

19-related physical or financial hardship. In May 2020, DaPonte


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asked why his tenants were not paying rent. One of them told him,

"you can't evict me so I am not paying shit." As of August 2020,

DaPonte was owed $4,075 in rent and late fees. He has been working

overtime, but is struggling to pay his personal and property

expenses. He has not been able to send a notice to quit to his

tenants and is concerned that he will lose his property to tax

foreclosure.

     Each of the plaintiffs understands that they are encouraged

by the regulations to send a "Notice of Rent Arrearage" to their

tenants to inform them of the amount of unpaid rent that they owe.

However, plaintiffs are unwilling to do that because they would be

required    to   include   addresses       for    websites       hosted    by     non-

governmental groups which in turn refer tenants to tenant advocacy

groups including City Life/Vida Urbana. Some of these groups

contributed to the enactment of the Moratorium, which the landlords

oppose,    and   the   landlords   regard        them    as    adverse    to    their

interests. The landlords do not want to appear to be endorsing

these groups, nor do they wish to facilitate efforts to frustrate

their ability to regain possession of their properties.

     By    September    23,   2020,    more       than        126,000    people    in

Massachusetts had been diagnosed with COVID-19, an increase of

nearly 90,000 since April 20, 2020. In addition, Massachusetts

reported a total of 9,135 deaths among confirmed cases, an increase

of more than 7,000 since the enactment of the Moratorium. However,


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the rate of infection, death, and hospitalization had decreased

significantly. On September 23, 2020, the state reported 542 new

cases, as compared to 1,566 on April 20, 2020. In addition, the

state reported 17 new deaths and that 361 people were hospitalized

with COVID-19, as compared to 103 and 3,804, respectively, on April

20, 2020. Moreover, the 7-day weighted average of positive test

results had decreased from a high of above 20% for much of April

to below 1.0% for September 2020. Mass. Dep't Pub. Health, COVID-

19 Dashboard (Sept. 23, 2020), https://www.mass.gov/doc/covid-19-

dashboard-september-23-2020/download.

     As a result of these developments, many businesses that were

closed in April 2020 have been allowed to reopen. The unemployment

rate has been dropping. The Governor has been urging schools to

resume teaching in person. In addition, the Massachusetts courts

are conducting many proceedings by videoconference or telephone,

and certain essential proceedings at courthouses, in person.

     PROCEDURAL HISTORY

     On May 29, 2020, Matorin and another plaintiff, who is not a

party here, initially filed suit in state court, as an emergency

petition for relief pursuant to the Massachusetts Supreme Judicial

Court's superintendence jurisdiction. See Emer. Pet., Matorin v.

Sullivan, No. SJ-2020-0442, Dkt. No. 1 (Mass. May 29, 2020) (copy

filed in this case at Dkt. No. 27-1). That petition asserted both

claims based on state law and the federal claims asserted in the


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instant case. On June 24, 2020, it was transferred by a single

justice of the Supreme Judicial Court to Suffolk Superior Court

for disposition and appeal in the usual course. See Order, Matorin

v. Sullivan, No. SJ-2020-0442, Dkt. No. 12 (Mass. June 24, 2020);

Compl., Matorin v. Massachusetts, No. 2084CV01334, Dkt. No. 2

(Mass. Super. Ct. June 25, 2020); see also July 23, 2020 Joint

Status Report ¶2 (Dkt. No. 25) (describing procedural history of

state action).

     On July 15, 2020, plaintiffs filed the instant case against

the Commonwealth of Massachusetts. Plaintiffs allege that the

Moratorium and regulations implementing it violate their rights

under   the   United   States   Constitution    in   five    ways.      More

specifically, they contend that they have been: (a) denied their

First Amendment right to access to the courts by being prohibited

from filing and pursuing eviction cases (Count 1); (b) denied their

First Amendment right to free speech by being prohibited from

sending certain notices (Count 2); (c) being compelled to refer

tenants to their adversaries for assistance in violation of the

First Amendment (Count 3); (d) having their contracts with their

tenants altered by state law in violation of the Contracts Clause,

Art. I, §10, cl. 1 (Count 4); and (e) having their property taken

without just compensation in violation of the Due Process Clause

of the Fifth Amendment (Count 5). See Dkt. No. 1.




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     With   their   complaint,    plaintiffs    filed    a   Motion     for

Preliminary Injunction. See Dkt. No. 2. The plaintiffs in the state

court action then dismissed their federal claims from that case.

See Dkt. No. 25 §2; Dkt. No. 27-4.

     Several non-profit organizations, including City Life/Vida

Urbana, Chelsea Collaborative, Inc., Lynn United For Change, and

Springfield No One Leaves, moved to intervene in this case or, in

the alternative, to participate in an "enhanced" status as amici

curiae. See Dkt. No. 22. The court denied their motion, without

prejudice to possibly granting amici status in the future because:

     [T]he Attorney General is willing and able to
     energetically, effectively and more than adequately
     defend the constitutionality of the moratorium. The [],
     proposed amici, or intervenors, do not have any
     additional claims or defenses. The participation of the
     proposed intervenors or amici will complicate and
     possibly delay proceedings in which time is of the
     essence.

     The proposed intervenors can work with the Attorney
     General. They [have] been coordinating at the state
     court. They [are] willing to work with each other. The
     proposed intervenors or amici can provide advice in
     affidavits to the court through the Attorney General if
     the Attorney General thinks they would be helpful.

     If the proposed intervenors believe that the Attorney
     General is not raising a particular relevant issue or
     not arguing it adequately, they can prepare a brief and
     a motion, and submit it with a motion to serve as amicus
     on that particular issue. I will then decide if it
     [would] be helpful to consider the brief and, if so, to
     allow the proposed intervenors to argue or otherwise
     participate in any hearings or trial.

Aug. 4, 2020 Tr. 91:15-92:10 (Dkt. No. 53). The court subsequently

denied three motions from other organizations to serve as amici


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curiae in support of defendants for substantially the same reasons.

See Dkt. Nos. 79 (denying motions from MLPB, Boston Medical Center

Corporation,    and   others),    85   (denying    motion   from   Am.   Civ.

Liberties Union and others). The court is now denying a September

2020 motion of the Pacific Legal Foundation to file an amicus brief

in support of plaintiffs, in part because it was untimely.

     The Commonwealth moved to dismiss or stay the case, based on

sovereign immunity and the Eleventh Amendment, lack of standing,

and abstention doctrines. See Dkt. No. 26. In response, plaintiffs

filed an Amended Complaint, in which they added an additional

plaintiff,     DaPonte,   to     resolve    some   standing   issues,    and

substituted as defendants the Governor and the Secretary of EOHED.

See Dkt. No. 58. Defendants acknowledged the amendment cured some

of the grounds for their motion to dismiss but maintained their

contention that the court should abstain in view of the related

state court case. For the reasons described in detail at the

hearing on August 24, 2020, the court denied without prejudice the

motion to stay. See Dkt. No. 85.

     Defendants also move to dismiss several counts of the amended

complaint. See Dkt. No. 69. They argue that: the court should

dismiss Count II because §3 of the Act does not restrain "speech"

for purposes of the First Amendment; the court should dismiss Count

V because plaintiffs may not seek compensatory or equitable relief

for a taking in federal court; and the court should dismiss Count


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III for lack of standing. See id. The court will address the Motion

to Dismiss in a separate Order.

     The   court   held   hearings   on   the   motion   for   preliminary

injunction and the motion to dismiss the amended complaint on

August 24 and 26, and on September 1, 2, and 10, 2020. See Dkt.

Nos. 85, 89, 105, 112, 119.

     PRELIMINARY INJUNCTION STANDARD

     The standard for obtaining a preliminary injunction is well-

established.

     Under the accepted framework, the four elements that a
     district court faced with a motion for a preliminary
     injunction must assess are the following: "(1) the
     likelihood of success on the merits; (2) the potential
     for irreparable harm if the injunction is denied;
     (3) the balance of relevant impositions, i.e., the
     hardship to the nonmovant if enjoined as contrasted with
     the hardship to the movant if no injunction issues; and
     (4) the effect (if any) of the court's ruling on the
     public interest."

Charlesbank Equity Fund II v. Blinds to Go, Inc., 370 F.3d 151,

162 (1st Cir. 2004) (quoting Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 15 (1st Cir. 1996)); see Teradyne,

Inc. v. Mostek Corp., 797 F.2d 43, 51-52 (1st Cir. 1986).

     "The burden of proof is on the plaintiff." Cablevision of

Boston, Inc. v. Pub. Imp. Comm'n of Boston, 38 F. Supp. 2d 46, 53

(D. Mass. 1999) (citing Ocean Spray Cranberries, Inc. v. Pepsico,

Inc., 160 F.3d 58, 60 (1st Cir. 1998)). The likelihood of success

on the merits is of "primary importance" and the "sine qua non for




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obtaining     a       preliminary     injunction."          Id.     (citing    Gately        v.

Massachusetts,         2   F.3d   1221,    1225      (1st    Cir.    1993);        Weaver   v.

Henderson, 984 F.2d 11, 12 (1st Cir. 1993)). See also Russomano v.

Novo Nordisk Inc., 960 F.3d 48, 53 (1st Cir. 2020) (quoting CVS

Pharmacy, Inc. v. Lavin, 951 F.3d 50, 55 (1st Cir. 2020)). "If a

great showing of likely success on the merits is made by a

plaintiff,        a    reduced     showing      of    irreparable           harm     may    be

appropriate." Id. (citing Ross-Simons, 102 F.3d at 19; EEOC v.

Astra USA, Inc., 94 F.3d 738, 743 (1st Cir. 1996)).

       "[I]rreparable harm [also] constitutes a necessary threshold

showing     for       an   award      of   preliminary            injunctive        relief."

Charlesbank Equity Fund II, 370 F.3d at 162. "The burden of

demonstrating that a denial of interim relief is likely to cause

irreparable harm rests squarely upon the movant." Id. "A finding

of   irreparable        harm   must   be   grounded         on    something        more    than

conjecture, surmise, or a party's unsubstantiated fears of what

the future may have in store." Id. It "most often exists where a

party has no adequate remedy at law." Id. Even in cases involving

real    estate,       "irreparable     harm     is     not       assumed;     it    must    be

demonstrated," and "'[s]peculative injury does not constitute a

showing of irreparable harm.'" Narragansett, 934 F.2d at 7-8

(quoting Pub. Serv. Co. v. W. Newbury, 835 F.2d 380, 383 (1st Cir.

1987)).




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      In deciding whether to issue a preliminary injunction, the

court may consider documents that would be inadmissible as evidence

in   other   proceedings.       As   the    Ninth    Circuit   stated    in   Flynt

Distributing      Co.    v.    Harvey,     "[t]he    urgency    of    obtaining   a

preliminary injunction necessitates a prompt determination and

makes it difficult to obtain affidavits from persons who would be

competent to testify at trial. The trial court may give even

inadmissible evidence some weight, when to do so serves the purpose

of preventing irreparable harm before trial." 734 F.2d 1389, 1394

(9th Cir. 1984) (citing 11 C. Wright & A. Miller, Federal Practice

and Procedure, Civil §2949 (1973)). See also Ross-Whitney Corp. v.

Smith Kline & French Labs., 207 F.2d 190, 198 (9th Cir. 1953)

(preliminary injunction may be granted on affidavits).

      Therefore,    "[a]ffidavits          and   other   hearsay     materials   are

often   received        in    preliminary        injunction    proceedings.      The

dispositive question is not their classification as hearsay but

whether, weighing all the attendant factors, including the need

for expedition, this type of evidence was appropriate given the

character and objectives of the injunctive proceeding." Asseo v.

Pan Am. Grain Co., 805 F.2d 23, 26 (1st Cir. 1986).

      "Crafting     a    preliminary        injunction    is    an    exercise    of

discretion and judgment, often dependent as much on the equities

of a given case as the substance of the legal issues it presents."

Trump v. Int'l Refugee Assistance Project, 137 S. Ct. 2080, 2087


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(2017). "The purpose of such interim equitable relief is not to

conclusively determine the rights of the parties, but to balance

the   equities     as    the    litigation          moves   forward.       In    awarding    a

preliminary injunction a court must also consider the overall

public interest. In the course of doing so, a court need not grant

the total relief sought by the applicant but may mold its decree

to meet the exigencies of the particular case." Id. (internal

citations and quotation marks omitted).

       "[A] court's conclusions as to the merits of the issues

presented    on    preliminary          injunction      are     to    be   understood        as

statements of probable outcomes. Thus, a party losing the battle

on    likelihood    of     success      may     nonetheless          win   the    war   at   a

succeeding trial on the merits." Narragansett Indian Tribe v.

Guilbert,    934    F.2d       4,   6   (1st    Cir.    1991)    (internal        citations

omitted).

       ANALYSIS

            Plaintiffs Are Not Likely to Prove that the Moratorium
            Violates the Contracts Clause 8

       In Count IV, plaintiffs allege that the Moratorium violates

the Contracts Clause by prohibiting them from serving notices to

quit, initiating summary process actions, and evicting tenants who




8    Although the court is not addressing defendants' motion to
dismiss in this Memorandum and Order, it has considered the
arguments presented concerning it in analyzing whether plaintiffs
have a reasonable likelihood of success on each of their claims.


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are not paying rent. It is a close question whether the Moratorium

substantially   impairs   the   contracts    that   plaintiffs'    leases

represent -- an essential element of a Contracts Clause claim. It

is also a close question whether the Moratorium is a reasonable

means of addressing the undisputed significant and legitimate need

to combat the spread of the COVID-19 virus. However, where, as

here, the state is not an interested party, courts give deference

to the judgment of elected officials as to what is reasonable and

appropriate. In part because the Moratorium is temporary and

scheduled to expire after six months, on October 17, 2020, the

court finds that plaintiffs are not likely to prove that the

Moratorium violated the Contracts Clause when it was enacted in

April 2020. On the present record it is neither possible nor

appropriate for the court to predict whether extensions would cause

the Moratorium to violate the Contracts Clause.

     The Supreme Court recently described the standards that apply

to an alleged violation of the Contracts Clause in Sveen v. Melin,

138 S. Ct. 1815 (2018). It wrote:

     The Contracts Clause restricts the power of States to
     disrupt contractual arrangements. It provides that "[n]o
     state shall . . . pass any . . . Law impairing the
     Obligation of Contracts." U.S. Const., art. I, §10, cl.
     1. The origins of the Clause lie in legislation enacted
     after the Revolutionary War to relieve debtors of their
     obligations to creditors. See Keystone Bituminous Coal
     Ass'n v. DeBenedictis, 480 U.S. 470, 502-03 (1987). But
     the Clause applies to any kind of contract. See Allied
     Structural Steel Co. v. Spannaus, 438 U.S. 234, 244-45,
     n.16 (1978). . . .


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     At the same time, not all laws affecting pre-existing
     contracts violate the Clause. See El Paso v. Simmons,
     379 U.S. 497, 506-07 (1965). To determine when such a
     law crosses the constitutional line, this Court has long
     applied a two-step test. The threshold issue is whether
     the state law has "operated as a substantial impairment
     of a contractual relationship." Allied Structural Steel
     Co., 438 U.S. at 244. In answering that question, the
     Court has considered the extent to which the law
     undermines the contractual bargain, interferes with a
     party's reasonable expectations, and prevents the party
     from safeguarding or reinstating his rights. See id. at
     246; El Paso, 379 U.S. at 514-15; Texaco, Inc. v. Short,
     454 U.S. 516, 531 (1982). If such factors show a
     substantial impairment, the inquiry turns to the means
     and ends of the legislation. In particular, the Court
     has asked whether the state law is drawn in an
     "appropriate" and "reasonable" way to advance "a
     significant and legitimate public purpose." Energy
     Reserves Group, Inc. v. Kansas Power & Light Co., 459
     U.S. 400, 411-12 (1983).

Id. at 1821-22.

     Therefore,    to   succeed   on   their   Contracts   Clause   claim,

plaintiffs must prove that the Moratorium (1) "operate[s] as a

substantial impairment of a contractual relationship," id. at 1817

(quoting Allied Structural Steel Co., 483 U.S. at 244), and (2) is

not "drawn in an 'appropriate' and 'reasonable' way to advance 'a

significant and legitimate public purpose,'" id. (quoting Energy

Rsrvs. Grp., 459 U.S. at 411-12).

                  Substantial Impairment

     The question of whether a contract has been substantially

impaired "has three components: whether there is a contractual

relationship, whether a change in law impairs that contractual




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relationship, and whether the impairment is substantial." Gen.

Motors Corp. v. Romein, 503 U.S. 181, 186 (1992).

      Whether a statute works a substantial impairment depends on

"the extent to which [it] undermines the contractual bargain,

interferes with a party's reasonable expectations, and prevents

the party from safeguarding or reinstating his rights." Sveen, 138

S. Ct. at 1822.

      "A contract depends on a regime of common and statutory law

for its effectiveness and enforcement." Norfolk & W. Ry. Co. v.

Am.   Train     Dispatchers   Ass'n,    499   U.S.   117,   129-30   (1991).

Therefore, "[l]aws which subsist at the time and place of the

making of a contract, and where it is to be performed, enter into

and form a part of it, as fully as if they had been expressly

referred to or incorporated in its terms." Farmers' & Merchs.'

Bank of Monroe v. Fed. Rsrv. Bank of Richmond, 262 U.S. 649, 660

(1923). "This principle embraces alike those laws which affect its

construction and those which affect its enforcement or discharge."

Id.

      In the instant case, the relevant contracts are the leases

that provide that the tenants may reside in the landlords' property

if they pay the agreed-upon rent and abide by other agreed-upon

conditions. The landlords and tenants agreed to the leases in the

context    of    Massachusetts'    landlord-tenant      laws,   which     bar

landlords from taking self-help measures to evict tenants but


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provide for expedited summary process eviction if a tenant does

not pay the rent required by the lease. In some cases, "fewer than

seven weeks might elapse between the time that the [tenant] is

served with a notice to quit and the time that he or she is removed

from his or her residence" by court order. Adjartey v. Cent. Div.

Hous. Ct. Dep't, 120 N.E.3d 297, 306 (Mass. 2019); see generally

Mass. Gen. Laws ch. 239. Matorin's lease explicitly provides "that

in the event of any breach by Tenant of this agreement, Landlord

shall be entitled to pursue any and all remedies provided or

recognized by applicable law," which would include the summary

process laws at the time of the lease. See Matorin Aff. Ex. A (Dkt.

No. 4), at 4 of 12. DaPonte's lease specifically refers to these

procedures, stating, "[i]f your rent is late a '14 Day Notice to

Quit' will be served and eviction procedures will begin." DaPonte

Aff. Ex. A (Dkt. No. 61), at 15 of 22.

     The rights to evict and recover property if a tenant does not

pay rent are important elements of the contractual relationship

that a lease creates. The Moratorium deprives the landlords of a

remedy for a violation of these rights while it is in effect. It

does not prevent a landlord from suing a tenant for rent owed.

However, that remedy will often be illusory because landlords are

unlikely to benefit from money judgments against tenants who are

unable   to   pay   rent   during   the    COVID-19   pandemic   or   who   are




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unwilling     to   do     so.   Therefore,   the   Moratorium    materially

undermines the contractual bargain. 9

       However, this is not the end of the substantial impairment

analysis. Rather, the court must consider the degree to which the

Moratorium interferes with the landlords' reasonable expectations.

See Sveen, 138 S. Ct. at 1822. "In this inquiry, it is especially

important whether the parties operated in a regulated industry."

Houlton Citizens' Coal. v. Town of Houlton, 175 F.3d 178, 190 (1st

Cir.     1999).    More     specifically,    "[t]he    reasonableness      of

expectations depends, in part, on whether legislative action was

foreseeable, and this, in turn, is affected by whether the relevant

party operates in a heavily regulated industry." Sullivan v. Nassau

Cnty. Interim Fin. Auth., 959 F.3d 54, 64 (2d Cir. 2020). See also

Energy Rsrvs. Grp., 459 U.S. at 411.

       The Supreme "Court has consistently affirmed that States have

broad power to regulate housing conditions in general and the

landlord-tenant relationship in particular . . . ." Loretto v.

Teleprompter Manhattan CATV Corp., 458 U.S. 419, 440 (1982) (citing

as examples fire regulations, a mortgage foreclosure moratorium,

and rent control statutes as powers the states may exercise).




9    The ability to sue for a money judgment also does not address
Matorin's inability to evict a tenant for failure to comply with
another condition of the lease, such as having an unauthorized
occupant in the residence.


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Generally, "[t]he parties may rely on the continued existence of

adequate statutory remedies for enforcing their agreement, but

they are unlikely to expect that state law will remain entirely

static. Thus, a reasonable modification of statutes governing

contract remedies is much less likely to upset expectations than

a law adjusting the express terms of an agreement." U.S. Tr. Co.

of New York v. New Jersey, 431 U.S. 1, 19 n.17 (1977) (emphasis

added).

       Here, the parties agree that landlord-tenant relationships

have historically been heavily regulated in Massachusetts and that

these    regulations     have    generally     been    favorable    to   tenants.

Therefore, the court finds for present purposes that a reasonable

landlord should have anticipated that there might be new laws or

regulations     regarding       the   leases   in    question   that     would   be

unfavorable to them. Among other things, a reasonable landlord

should have anticipated that the timeline for obtaining a court-

ordered eviction might be extended by legislation.

       However, the court finds that a reasonable landlord would not

have anticipated a virtually unprecedented event such as the COVID-

19 pandemic that would generate a ban on even initiating eviction

actions against tenants who do not pay rent and on replacing them

with    tenants    who   do     pay   rent.    But    see   HAPCO   v.   City    of

Philadelphia, C.A. No. 20-3300, 2020 WL 5095496, *7-8 (E.D. Pa.

Aug. 28, 2020); Auracle Homes, 2020 WL 4558682, at *17; Elmsford,


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2020 WL 3498456, at *12-13; Decision on Mot. Prelim. Inj. 26-27,

Matorin v. Massachusetts, No. 2084CV01334, Dkt. No. 31 (Mass.

Super. Ct. Aug. 26, 2020) (copy filed in this case at Dkt. No. 92-

1). Nor would a reasonable landlord have anticipated more than a

brief,     temporary     prohibition     on   evictions    if    an   unforeseen

emergency developed.

       However, in deciding whether plaintiffs are reasonably likely

to prove a substantial impairment of their leases, the court must

also    consider    whether     the    Moratorium    "prevents      [them]    from

safeguarding or reinstating [their] rights." Sveen, 138 S. Ct. at

1822. Here, the Moratorium is likely, as a practical matter, to

deprive the landlords of their contractual right to receive the

rent they are owed. However, their related right to evict for

failure to pay rent has only been temporarily suspended and, absent

new legislation, will be reinstated soon after the Moratorium ends.

       It is not now clear when the Moratorium will end. Therefore,

it is not possible to determine conclusively the extent of the

impairment of plaintiffs' contractual right to evict caused by the

Moratorium.      However,   this      issue   is   not   material     to   whether

plaintiffs are reasonably likely to prevail on their Contracts

Clause claim because plaintiffs are unlikely to prove that when

enacted     in   April   2020   the    Moratorium    was   not   "drawn      in   an

'appropriate' and 'reasonable' way to advance 'a significant and




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legitimate public purpose.'" Id. (quoting Energy Rsrvs. Grp., 459

U.S. at 411-12).

                    Public Purpose and Reasonableness

       If there is a significant impairment of a contract, "the

State, in justification, must have a significant and legitimate

public purpose behind the regulation, such as the remedying of a

broad and general social or economic problem. . . . [T]he [Supreme]

Court has indicated that the public purpose need not be addressed

to an emergency or temporary situation. . . . The requirement of

a legitimate public purpose guarantees that the State is exercising

its police power, rather than providing a benefit to special

interests." Energy Rsrvs. Grp., 459 U.S. at 411-12 (internal

citations       omitted).   "[T]he    Supreme   Court    has   defined    'police

power'    for    Contract   Clause     purposes,   'as   an    exercise   of   the

sovereign right of the Government to protect the lives, health,

morals, comforts, and general welfare of the people . . . .'"

Local Div. 589, Amalgamated Transit Union v. Massachusetts, 666

F.2d 618, 639 (1st Cir. 1981) (quoting Manigault v. Springs, 199

U.S.     473,    480   (1905)).      However,   "[t]he    state's    'paramount

authority . . . is not limited to health, morals and safety. It

extends to economic needs as well.'" Id. (quoting Veix v. Sixth

Ward Ass'n, 310 U.S. 32, 39 (1940)). "[T]his 'protective power of




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the state'" is another "implied condition of every contract." E.

N.Y. Sav. Bank, 326 U.S. at 232 (citation omitted).

     Plaintiffs do not dispute that, in April 2020, combatting the

growing threat of COVID-19 was a significant and legitimate public

purpose.    Rather,      they   assert   that    the   Moratorium   was   not    a

reasonable, necessary, and appropriate way to address that threat.

The court concludes that, at least if the Moratorium expires on

October    17,   2020,    plaintiffs     are    unlikely   to   prove   that   the

Moratorium was not reasonable and appropriate when enacted.

     Where, as here, a contract involves only private parties, a

claim that a state has violated the Contracts Clause will be

meritorious only if it is proven that there was not a rational

basis for the legislation at issue. See Inmates of Suffolk Cnty.

Jail v. Rouse, 129 F.3d 649, 659 (1st Cir. 1997). This means that:

     Legislation adjusting the rights and responsibilities of
     contracting parties must be upon reasonable conditions
     and of a character appropriate to the public purpose
     justifying its adoption. As is customary in reviewing
     economic and social regulation, however, courts properly
     defer to legislative judgment as to the necessity and
     reasonableness of a particular measure.

U.S. Tr. Co., 431 U.S. at 22-23 (internal citation and note

omitted). 10 See also Ass'n of Surrogates v. State of New York, 940

F.2d 766, 771 (2d Cir. 1991).




10   Although the Supreme Court in U.S. Trust Co., 431 U.S. at 23,
used the word "necessity," the appropriate test is not strict
scrutiny, which would require that there was no less restrictive


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alternative to the terms of the Moratorium. The Contracts Clause
analysis as articulated in Sveen does not include a requirement
that the legislation at issue be "necessary." Rather, the standard
is stated as "whether the state law is drawn in an 'appropriate'
and 'reasonable' way to advance 'a significant and legitimate
public purpose.'" Sveen, 138 S. Ct. at 1822 (quoting Energy Rsrvs.
Grp., 459 U.S. at 411-12). Plaintiffs' counsel acknowledged that
Sveen provides the applicable test. See Aug. 24, 2020 Tr. 79:7-
84:19 (Dkt. No. 108).

     The First Circuit has at times written that the state law
must be reasonable and necessary. See, e.g., Houlton Citizens'
Coal., 175 F.3d at 191 (Contracts Clause analysis "ordinarily
involves ascertaining the reasonableness and necessity" of the law
at issue). Even prior to Sveen, the Second Circuit required only
that the law be "reasonable." See, e.g., Ass'n of Surrogates, 940
F.2d at 771. The First Circuit has stated that there is no
difference between its test and the Second Circuit test. See United
Auto., Aerospace, Agr. Implement Workers of Am. Int'l Union v.
Fortuño, 633 F.3d 37, 41 n.4 (1st Cir. 2011).

     In any event, the court must determine whether there was a
rational basis for the Moratorium when it was enacted, not whether
it was necessary because there was no less burdensome way to
address the impact of evictions during the pandemic. If the court
were required to subject the Moratorium to strict scrutiny, it
would probably violate the Contracts Clause. Terms of eviction
moratoria deemed appropriate by certain other states and the CDC
are less burdensome in various ways including by requiring that
there be evidence of a COVID-19-related reason for a tenant's
failure to pay rent. Compare, e.g., CDC Moratorium (prohibiting
evictions only for eligible tenants who complete a declaration of
hardship, have attempted to get financial assistance for rent, and
have no other option); Conn. Moratorium (barring landlords from
serving notices to quit or commencing summary process actions in
all cases except for "serious nuisance," extending grace period
for tenants to pay rent, and later allowing landlords to apply
security deposits to outstanding rent with the tenant's consent);
N.Y. Moratorium (staying only nonpayment cases where the tenant
faced financial hardship due to the COVID-19 pandemic and
permitting landlords with tenant's consent to apply security
deposit to unpaid rent); Phila. Moratorium (prohibiting through
August 31, 2020 the eviction of tenants who provide a certification
of hardship due to COVID-19, requiring landlords seeking evictions
through December 31, 2020 first to attend mediation, and providing


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     At least where, as here, the State is not a party to the

contract and will not benefit from its impairment, see Energy

Rsrvs. Grp., 459 U.S. at 412-13, as noted earlier courts typically

defer to legislative judgments as to what is reasonable. U.S. Tr.

Co., 431 U.S. at 22-23. In this case, the record includes evidence

from which elected officials in April 2020 could have reasonably

concluded that, among other things, many renters were losing their

jobs because the COVID-19 pandemic was causing the closing of many

businesses; the Governor was urging people to stay at home to stop

the spread of COVID-19 to themselves or others; and evictions, or

even the threat of legal action to evict, would displace tenants,

cause overcrowding of dwellings and homeless shelters, and result

in more people living on the streets.

     Therefore, in April 2020, the legislature and Governor had a

rational basis for deciding that the Moratorium was a reasonable

way to address legitimate and significant economic and public

health issues created by the COVID-19 pandemic. In view of the

deference that this court should now give their judgment, the court

finds that plaintiffs are not reasonably likely to succeed on the

merits of their claim that the Moratorium violated the Contracts

Clause when it was enacted as a temporary measure in April 2020.




for a repayment plan for tenants who did not timely pay rent and
can prove a COVID-19 financial hardship).


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     In reaching this conclusion, the court has considered that

the Supreme Court upheld a moratorium on foreclosures enacted by

Minnesota in response to the Great Depression. See Home Bldg. &

Loan Ass'n v. Blaisdell, 290 U.S. 398, 424-31 (1934). Plaintiffs

contend that this case is materially different from Blaisdell.

Rather, plaintiffs argue, this case is like W.B. Worthen Co. v.

Kavanaugh, 295 U.S. 56, 60 (1935), where Justice Benjamin Cardozo,

writing for the Court, struck down a foreclosure moratorium and

distinguished Blaisdell because the Blaisdell moratorium required

mortgagors   to   pay   the   equivalent    of   rent   when   the   right   to

foreclose was postponed. However, Worthen was a case in which, as

a practical matter, the state was an interested party as the

foreclosures at issue were based on municipal bonds for which

private homes were the security. Although in Worthen the Court did

not say so, the governmental interest in the contracts at issue

meant that the same degree of deference was not due as in cases

where   private     contracts     are      involved.    The    Court    later

distinguished Worthen on the basis that there the state showed a

"studied indifference" to the obligee. See E. N.Y. Sav. Bank, 326

U.S. at 234. The Court explained:

     [H]ere there was no "studied indifference to the
     interests of the mortgagee or to his appropriate
     protection." Here the Legislature was not even acting
     merely upon the pooled general knowledge of its members.
     The whole course of the New York moratorium legislation
     shows the empiric process of legislation at its fairest:
     frequent reconsideration, intensive study of the


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      consequences of what has been done, readjustment to
      changing conditions, and safeguarding the future on the
      basis of responsible forecasts.

Id.   (citation      omitted).    As    explained   earlier,        the   degree   of

deference to be accorded to any extension(s) of the Moratorium

will be influenced by the extent to which the same can be said in

this case.

            Plaintiffs Are Not Likely to Prove That the Moratorium
            Violates the Takings Clause

      The Takings Clause states that "private property [shall not]

be taken for public use, without just compensation." U.S. Const.

amend. V. The Takings Clause applies to the states through the

Fourteenth Amendment. See Chicago, B. & Q.R. Co. v. Chicago, 166

U.S. 226 (1897).

      "This protection is not restricted to physical invasions,

occupations,      or   removals   of    property;      in    some   cases,    overly

assiduous government regulation can create an unconstitutional

taking." Houlton Citizens' Coal., 175 F.3d at 190. Accordingly,

"[c]ase law under the Takings Clause has developed along two

parallel    lines,      one   addressing      physical      invasions     (sometimes

called    per   se     takings)   and    the   other     addressing       regulatory

takings." Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 674

(1st Cir. 1998).

      Plaintiffs now seek a declaration that the Moratorium is an

unconstitutional violation of the Takings Clause and an injunction



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against the Act's enforcement on this basis. 11 Plaintiffs contend

that the Act effects both a physical and regulatory taking of their

rental   properties.     However,     for   the    reasons   explained   below,

plaintiffs   are    unlikely     to   prove   that    either   a   physical   or

regulatory taking occurred when the Moratorium was enacted in April

2020.

     Moreover,     the   Fifth    Amendment       proscribes   a   taking   only

without just compensation. Massachusetts law includes adequate

provisions for obtaining just compensation for any taking that

might be proven. Plaintiffs, therefore, have an adequate remedy at

law for their Takings Clause claim. Accordingly, an injunction

would be unjustified, even if, contrary to the court's conclusion,

plaintiffs were likely to prove the Moratorium constitutes a taking

of their property. See Knick v. Twp. of Scott, Pa., 139 S. Ct.

2162, 2176 (2019).

                   Physical Taking

     Plaintiffs are unlikely to prove that a physical taking

occurred   when    the   Moratorium     was   enacted    because    plaintiffs

voluntarily rented their properties to their tenants.




11   Plaintiffs initially requested just compensation as a remedy
for their Takings Clause claim. They have since indicated that
they are no longer pursuing a claim for money damages. See Dkt.
No. 88 at 10 n.10. In any event, Massachusetts has not waived its
sovereign immunity for such claims in federal court and, therefore,
they would be barred by the Eleventh Amendment. See, e.g., Citadel
Corp. v. P.R. Highway Auth., 695 F.2d 31, 33 (1st Cir. 1982).


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     "The government effects a physical taking only where it

requires the landowner to submit to the physical occupation of his

land." Yee v. City of Escondido, Cal., 503 U.S. 519, 527 (1992)

(emphasis in original). "This element of required acquiescence is

at the heart of the concept of occupation." FCC v. Fla. Power

Corp., 480 U.S. 245, 252 (1987). In contrast to such a compelled

physical    occupation,   "[s]tates       have    broad   power    to   regulate

housing conditions in general and the landlord-tenant relationship

in   particular   without   paying     compensation       for     all   economic

injuries that such regulation entails." Loretto, 458 U.S. at 440.

     In Yee, the Supreme Court found that a rent control ordinance

which limited the ability of mobile home park owners to raise rents

did not constitute a taking even when considered in conjunction

with a state statute restricting the ability of park owners to

evict mobile home tenants. See Yee, 503 U.S. at 527. Because

"[p]etitioners' tenants were invited by petitioners, not forced

upon them by the government," they had not been subjected to a

compelled   physical   invasion   of      their    property;      therefore,   no

physical taking had occurred. Id. at 528.

     As in Yee, the Moratorium did not compel plaintiffs to rent

their properties. Rather, plaintiffs voluntarily chose to rent to

their tenants prior to the Act. The Moratorium temporarily prevents

the termination of those tenancies. "A different case would be

presented were the statute, on its face or as applied, to compel


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a landowner over objection to rent his property or to refrain in

perpetuity from terminating a tenancy." Id. This is, however, not

now the case. Accordingly, plaintiffs are unlikely to prove that

a physical taking occurred when the Moratorium was enacted.

                Regulatory Taking

     Plaintiffs are also unlikely to show that a "categorical" or

"non-categorical" regulatory taking has occurred. A categorical

regulatory taking occurs "where regulation denies all economically

beneficial or productive use of land." Lucas v. S.C. Coastal

Council, 505 U.S. 1003, 1015 (1992) (emphasis added). However, "a

fee simple estate cannot be rendered valueless by a temporary

prohibition on economic use, because the property will recover

value as soon as the prohibition is lifted." Tahoe-Sierra Pres.

Council, Inc. v. Tahoe Reg'l Plan. Agency, 535 U.S. 302, 332

(2002). As the Moratorium, and any prohibition on economically

beneficial use it imposes, was when enacted only temporary, and

plaintiffs do not contend the Act has rendered their properties

valueless, no categorical regulatory taking has occurred.

     "Anything less than a 'complete elimination of value,' or a

'total loss,'" may be a non-categorical taking, which is subject

to the framework of Penn Central Transportation Co. v. City of New

York, 438 U.S. 104, 124 (1978). Tahoe-Sierra, 535 U.S. at 330. As

described by the First Circuit:




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     [C]ourts apply a three-part "ad hoc, factual inquiry" to
     evaluate whether a [non-categorical] regulatory taking
     has occurred: (1) what is the economic impact of the
     regulation; (2) whether the government action interferes
     with reasonable investment-backed expectations; and
     (3) what is the character of the government action.

Philip Morris, Inc. v. Reilly, 312 F.3d 24, 33 (1st Cir. 2002)

(quoting Penn Central, 438 U.S. at 124). Analysis of these factors

indicates that plaintiffs are unlikely to prove that the Moratorium

when enacted caused a non-categorical taking.

     The evidence concerning the first factor, the economic impact

of the challenged governmental action, does not support a finding

that a taking has likely occurred because plaintiffs have only

been temporarily deprived of income from their property. To analyze

the economic impact of the Act, the court must "compare the value

that has been taken from the property with the value that remains

in the property." Keystone, 480 U.S. at 497. In doing so, the court

must focus on the "parcel as a whole," rather than any one portion

or rental unit. Tahoe-Sierra, 535 U.S at 327; Keystone, 480 U.S.

at 497. Plaintiffs have not alleged, let alone provided evidence

of, any diminution in the value of their properties as a whole

caused by the Moratorium. 12 Accordingly, the evidence does not




12   Baptiste and Matorin own multi-unit properties. They each
allege that tenants in one unit have not paid rent that is owed.
See Villa Aff. ¶¶8, 17 (Dkt. No. 30-17). There are no allegations
regarding the number of units in plaintiff DaPonte's property.
Plaintiffs' counsel stated that the DaPonte's property is a single-
family condominium and the tenant of that unit is in arrears. See


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indicate that the Moratorium has yet had a significant impact on

the value of plaintiffs' property.

     Moreover, the Supreme Court has held that the "mere diminution

in the value of property, however serious, is insufficient to

demonstrate a taking." Concrete Pipe & Prods. Cal., Inc. v. Constr.

Laborers Pension Tr. for S. Cal., 508 U.S. 602, 645 (1993).

Similarly, the Ninth Circuit has held that "the mere loss of some

income because of regulation does not itself establish a taking."

Colony Cove Props., LLC v. City of Carson, 888 F.3d 445, 451 (9th

Cir. 2018).

     In any event, the Moratorium only temporarily bars plaintiffs

from evicting their tenants and from renting their properties to

people who will pay them rent. This temporary delay in plaintiffs'

ability to make economic use of their property is not sufficient

to constitute a taking. As the Federal Circuit wrote in Appolo

Fuels, Inc. v. United States, 381 F.3d 1338, 1351 (Fed. Cir. 2004),

"[d]elay in the regulatory process cannot give rise to takings

liability unless the delay is extraordinary."

     With regard to the second prong of the Penn Central test, the

court   finds   for   present   purposes   that   the   Moratorium      does




Sept. 1, 2020 Tr. 44:11-14 (Dkt. No. 123). Even assuming that
DaPonte's property contains only one unit, the evidence is
insufficient to make it likely that DaPonte will prove that the
value of the property as a whole has as of now been significantly
diminished by the Moratorium.


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significantly interfere with plaintiffs' reasonable investment

backed     expectations.     As    explained     earlier,     landlord-tenant

relations     in    Massachusetts     have     historically    been    heavily

regulated and these regulations have generally been favorable to

tenants. Therefore, a reasonable landlord would have expected that

there might be unfavorable new regulations regarding his or her

relationship with tenants. Some courts have found that a moratorium

on evictions would not interfere with reasonable investment-backed

expectations because landlord-tenant relationships in the state

were historically regulated. See, e.g., Auracle Homes, 2020 WL

4558682, at *15; Elmsford, 2020 WL 3498456, at *10-11; Decision on

Mot. Prelim Inj. 26-27, Matorin v. Massachusetts, No. 2084CV01334,

Dkt. No. 31 (Mass. Super. Ct. Aug. 26, 2020). However, again, this

court finds that a reasonable landlord would not have anticipated

a virtually unprecedented event like the COVID-19 pandemic and the

ensuing six-month ban on evicting and replacing tenants who do not

pay rent.

     The    final   Penn    Central   factor    --   the   character    of   the

governmental action -- supports the conclusion that the Moratorium

is unlikely to be proved to have caused a taking to occur. The

Supreme     Court   has    found   that    governmental     action    does   not

constitute a taking where "interference with the property rights

. . . arises from a public program that adjusts the benefits and

burdens of economic life to promote the common good," and where


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"the     Government    does   not    physically       invade    or    permanently

appropriate any of the [property] for its own use." Connolly v.

Pension Ben. Guar. Corp., 475 U.S. 211, 225 (1986). The Moratorium

is a "public program adjusting the benefits and burdens of economic

life to promote the common good." Penn Central, 438 U.S. at 124.

Moreover, the state has not "appropriate[d] any of [plaintiffs'

property] for its own use." Connolly, 475 U.S. at 225. The Act has

burdened plaintiffs by temporarily preventing them from removing

tenants for failure to pay rent. It has benefitted those tenants,

who are now temporarily protected from eviction, and members of

the public, who elected officials found would be at greater risk

of COVID-19 infection if displaced tenants caused or contributed

to the overcrowding of other dwellings and homeless shelters, or

were required to live on the streets.

       Balancing these factors, the court finds that plaintiffs are

not likely to prove that there was a non-categorical regulatory

taking of their properties when the Moratorium was enacted in April

2020.

                    Injunctive Relief Would Be Unavailable even if a
                    Taking Occurred

       Plaintiffs have withdrawn their claim for just compensation.

They    are   now   seeking   only     a    declaration    that      the   Act   is

unconstitutional      in   violation       of   the   Takings   Clause     and   an

injunction against the Act's enforcement on this basis.



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      However, the Supreme Court recently held that "[a]s long as

an adequate provision for obtaining just compensation exists,

there is no basis to enjoin the government's action effecting a

taking." Knick, 139 S. Ct. at 2176. See also HAPCO, 2020 WL

5095496, at *12. "Today, because the federal and nearly all state

governments provide just compensation remedies to property owners

who   have   suffered    a   taking,    equitable   relief   is   generally

unavailable." Knick, 139 S. Ct. at 2176. See also Ruckelshaus v.

Monsanto Co., 467 U.S. 986, 1016 (1984) ("Equitable relief is not

available to enjoin an alleged taking of private property for a

public use, duly authorized by law, when a suit for compensation

can be brought against the sovereign subsequent to the taking."

(internal note omitted)).

      Massachusetts law provides a means for a property owner to

obtain just compensation in state court for property that is taken

by the state. Massachusetts General Laws chapter 79, §10 "expressly

provides for compensation '[w]hen the real estate of any person

has been taken.' . . . '[It] provides a specific statutory remedy

for governmental actions which amount to a taking without formal

condemnation proceedings.'" Gilbert v. City of Cambridge, 745 F.

Supp. 42, 52 (D. Mass. 1990) (citations omitted). See also Lopes

v. City of Peabody, 713 N.E.2d 846, 852 (Mass. 1999) ("We conclude

that [Mass. Gen. Laws ch.] 79, §§12 and 35A, apply to temporary

regulatory takings . . . .").


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     Plaintiffs contend that this remedy is inadequate because

under Mass. Gen. Laws ch. 79, §10, the right to damages as the

result of a taking "for a definite period of time" vests on the

date of the taking, and is subject to a one-year statute of

limitations. It is unclear when the Moratorium will end and when

plaintiffs will regain possession of their property. Plaintiffs

argue, therefore, that they may be unable to file a claim for

compensation under Mass. Gen. Laws ch. 79, §10 within one year of

the beginning of the taking because they may be unable to ascertain

their damages within a year.

     Plaintiffs have provided no authority for this proposition

and the court finds it to be unmeritorious. In any event, Matorin

has filed a claim for just compensation pursuant to Mass. Gen.

Laws ch. 79 for the alleged temporary taking of his property in

the parallel Massachusetts Superior Court action. See Dkt. No. 27-

1, at 18, 81 of 120; Decision on Mot. Prelim. Inj. 18, Matorin v.

Massachusetts, No. 2084CV01334, Dkt. No. 31 (Mass. Super. Ct. Aug.

26, 2020) (copy filed in this case at Dkt. No. 92-1). Article 10

of the Massachusetts Declaration of Rights provides that "whenever

the public exigencies require that the property of any individual

should   be   appropriated   to   public   uses,      he   shall   receive   a

reasonable    compensation   therefor."    It   has    been   construed   "to

provide property owners the same protection afforded under the




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just compensation clause of the Fifth Amendment." Blair v. Dep't

Conservation & Recreation, 932 N.E.2d 267, 274 (Mass. 2010).

      The Superior Court found that Matorin is unlikely to prevail

on his state law takings claim. See Decision on Mot. Prelim. Inj.

18-29, Matorin v. Massachusetts, No. 2084CV01334, Dkt. No. 31

(Mass. Super. Ct. Aug. 26, 2020) (copy filed in this case at Dkt.

No.   92-1).    However,    the    fact      that     a    particular    claim       is

unmeritorious does not mean the state remedy is inadequate.

      Accordingly, even if plaintiffs could prove a taking had

occurred, they would not be entitled to injunctive relief. Nor

would they be entitled to a declaration that the Act is a violation

of the Takings Clause. As plaintiffs have withdrawn their claim

for   just   compensation    in   the     form   of       money   damages,    such    a

declaration would be the functional equivalent of an unwarranted

injunction against the enforcement of the Act. See Cnty. of Butler

v. Wolf, No. 2:20-cv-677, 2020 WL 2769105, *4 (W.D. Pa. May 28,

2020) ("[T]he declaratory relief sought by Plaintiffs -- that the

Governor's       business        shutdown        orders           effectuated        an

unconstitutional taking -- would be the functional equivalent of

injunctive     relief.     The    Supreme     Court's        decision    in     Knick

forecloses such relief."); HAPCO, 2020 WL 5095496, at *12 & n.112

(same).




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     In view of the foregoing, plaintiffs are unlikely to prove

that the Moratorium violated the Takings Clause when it was enacted

in April 2020.

          Plaintiffs Are Not Likely to Prove that the Moratorium
          Violates the Petition Clause

     In Count I, plaintiffs contend that the Moratorium violates

the First Amendment's Petition Clause. See Am. Compl. ¶¶57-61 (Dkt.

No. 58). They argue that their right to petition has been infringed

because the Moratorium bars landlords from filing and prosecuting

"non-essential" summary process cases, including cases based on a

failure to pay rent. Id. ¶60. Plaintiffs are not reasonably likely

to prevail on this claim.

     The First Amendment's Petition Clause provides that "Congress

shall make no law . . . abridging . . . the right of the people

. . . to petition the Government for a redress of grievances."

U.S. Const. amend. I. This provision applies to the states through

the Fourteenth Amendment. See Edwards v. South Carolina, 372 U.S.

229, 235 (1963).

     The Supreme Court has sometimes stated that "'[t]he right of

access to courts for redress of wrongs is an aspect of the First

Amendment right to petition the government.'" Borough of Duryea,

Pa. v. Guarnieri, 564 U.S. 379, 387 (2011) (quoting Sure-Tan, Inc.

v. NLRB, 467 U.S. 883, 896-97 (1984)). See also BE & K Constr. Co.

v. NLRB, 536 U.S. 516, 525 (2002); Cal. Motor Transp. Co. v.



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Trucking Unltd., 404 U.S. 508, 510 (1972). Nevertheless, the "basis

of the constitutional right of access to courts" is "unsettled."

Christopher v. Harbury, 536 U.S. 403, 415 & n.12 (2002). As the

Supreme Court has recognized, its precedents have based the right

in   differing   constitutional    provisions,    including    the   Fifth

Amendment Due Process Clause. Id. at 415 n.12.

     Plaintiffs assert that their right to access to the courts is

a First Amendment right; that it is a "fundamental" right; that it

is, therefore, subject to strict scrutiny; and the Moratorium fails

that test because there are less restrictive ways to serve the

State's compelling interest in combatting the COVID-19 pandemic,

even if it wished to do so in part by reducing the risk of evictions

or displacement of tenants as a result of the threat of legal

action. 13 See Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163




13   Plaintiffs rely heavily on another decision of the United
States District Court for District of Massachusetts in which the
Massachusetts Attorney General's moratorium on debt collection
litigation was found to violate the right to petition. See ACA,
2020 WL 2198366, at *8-9. It is not clear what standard the court
applied in reviewing the constitutionality of that regulation. In
any event, the moratoria in that case and this one are materially
different.

     In ACA, the Attorney General had ordered a debt collection
moratorium and stated that a violation of that moratorium would
constitute a violation of Massachusetts General Laws Chapter 93A,
exposing the plaintiffs to penalties for filing suit. See id. This
made ACA similar to cases like Duryea, 564 U.S. at 387, and Bill
Johnson's Restaurants, Inc. v. NLRB, 461 U.S. 731, 743 (1983), in
which the Supreme Court considered whether antitrust laws,
employee codes of conduct, or labor anti-retaliation laws could


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(2015) (statutes subject to strict scrutiny "are presumptively

unconstitutional and may be justified only if the government proves

that    they   are    narrowly     tailored    to   serve   compelling       state

interests"); United States v. Playboy Ent. Grp., Inc., 529 U.S.

803, 813 (2000) ("If a statute regulates speech based on its

content, it must be narrowly tailored to promote a compelling

Government interest. If a less restrictive alternative would serve

the     Government's       purpose,   the     legislature    must      use   that

alternative."        (citations    omitted)).       Defendants   assert       that

plaintiffs' claim is instead an alleged denial of Due Process;

that the Moratorium is, therefore, subject to rational basis

review; and that there was a rational basis for its enactment in

April 2020.

       As explained below, the court finds that whether the right to

access to the courts is a First Amendment "fundamental" right or

is    rooted   in    the   Fifth   Amendment   guarantee    of   Due    Process,

plaintiffs' claims are subject to rational basis review. For the




burden a litigant's right to petition. In ACA the legislature had
provided a right for debt collectors to sue, and the Attorney
General had not only burdened that right but also imposed a
monetary penalty for its exercise. Here, the Moratorium was enacted
by the legislature, which modified the underlying rights to evict
and to utilize summary process to do so. The Act did not impose
penalties under Chapter 93A. As discussed below, a modification of
underlying rights is not necessarily a violation of the right to
petition. See Christopher, 536 U.S. at 415. Therefore, ACA is
inapposite.


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reasons explained in the previous Contracts Clause analysis, there

was a rational basis for the Moratorium when it was enacted in

April 2020. Therefore, plaintiffs are not reasonably likely to

prevail on Count I.

                   Due Process Analysis

      "[T]he Petition Clause protects the right of individuals to

appeal to courts and other forums established by the government

for   resolution    of   legal   disputes."   Duryea,   564   U.S.   at   387.

However, "the right is ancillary to the underlying claim, without

which a plaintiff cannot have suffered injury by being shut out of

court." Christopher, 536 U.S. at 415. The Second Circuit has

interpreted Christopher to mean that "[t]he right to petition

exists in the presence of an underlying cause of action and is not

violated by a statute that provides a complete defense to a cause

of action or curtails a category of causes of action." City of New

York v. Beretta U.S.A. Corp., 524 F.3d 384, 397 (2d Cir. 2008).

The First Circuit has similarly stated that a plaintiff without an

underlying claim "has no First Amendment right to petition the

courts for redress of such a nonexistent claim." Doherty v. Merck

& Co., 892 F.3d 493, 499 (1st Cir. 2018).

      "In a nutshell, while there is a constitutional right to court

access, there is no complementary constitutional right to receive

or be eligible for a particular form of relief." Inmates of Suffolk

Cnty. Jail, 129 F.3d at 660. This means that a legislature may,


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among other things, alter rights and remedies without violating

the First Amendment right to petition if doing so does not violate

another guarantee of the United States Constitution. See, e.g.,

Doherty v. Merck & Co., No. 1:15-cv-129-DBH, 2017 WL 3668415, *2

(D. Me. Aug. 24, 2017), aff'd, 892 F.3d at 499; Beretta, 524 F.3d

at 397.

       In    this   case,   the   other     relevant    provisions   of    the

Constitution are the Contracts Clause, the Takings Clause, and the

requirement that the state action satisfy Due Process. Plaintiffs

do not claim that they have a constitutional right to evict.

Rather, they claim a statutory and contractual right to evict that

the Moratorium interferes with in violation of the Contracts Clause

and Takings Clause. See Pls. Suppl. Mem. 4 n.2 (Dkt. No. 115).

They also claim that the only way to regain possession of their

property is to exercise their constitutional right to access the

courts by seeking summary process evictions in the Massachusetts

Housing Court. Id.

       Plaintiffs are not being deprived of the right of access to

the courts concerning their Takings and Contracts Clause claims,

as they are litigating those claims in this case. See Doherty, 892

F.3d    at   499;   Beretta,   524   F.3d   at   397.   Plaintiffs   are   not

reasonably likely to prevail on their claim that, by temporarily

removing access to the Housing Court to pursue the statutory

summary procedures to evict, the Moratorium when enacted violated


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their constitutional right to access the courts. With regard to

the right to evict, the First Circuit has stated that, "[e]ven

assuming that a right to evict a tenant would be a protected

property interest . . . for purposes of a due process claim, it

does not follow that there is a fundamental right to evict.

. . . In fact, the Constitution establishes no such fundamental

right." Rubinovitz v. Rogato, 60 F.3d 906, 910-11 (1st Cir. 1995).

Cf. United States v. Kras, 409 U.S. 434, 445 (1973) (right to

access Bankruptcy Court is not a fundamental right).

     If viewed as a Due Process claim, plaintiffs must prove that

there   is   no   rational   basis   for   the   Moratorium's   temporary

prohibition on evictions and related prohibition on filing or

pursuing summary process actions in the Housing Court. See Sosna

v. Iowa, 419 U.S. 393, 406, 410 (1975); Kras, 409 U.S. at 446;

Boddie v. Connecticut, 401 U.S. 371, 379 & n.6 (1971); see also Ad

Hoc Comm. on Jud. Admin. v. Massachusetts, 488 F.2d 1241, 1243-45

(1st Cir. 1973) ("[W]hether delay is a violation of due process

depends on the individual case."). Under the rational basis test,

state action is constitutional if it is "rationally related to a

legitimate state interest." See New Orleans v. Dukes, 427 U.S.

297, 303 (1976).

     Here, defendants argue that the Moratorium was intended to

assist in the control of the COVID-19 pandemic by preventing the

eviction, or displacement prompted by the threat of eviction, of


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tenants who would then cause unhealthy overcrowding in other

dwellings by "doubling up" with friends or family, overcrowding

homeless shelters, or living on the streets. See Deft. Opp'n Mot.

Prelim. Inj. 7-9, 13-14 of 45 (Dkt. No. 30); Barocas Aff. (Dkt.

No. 30-5); Bartosch Aff. (Dkt. No. 30-6); Bharel Aff. (Dkt. No.

30-7); Gaeta Aff. (Dkt. No. 30-9); Reardon Aff. (Dkt. No. 30-14).

See also Dkt. No. 67-1 (explaining the cited economic, public

health and safety, and public welfare purposes for the Moratorium).

     Preventing the spread of an epidemic is a legitimate state

interest. See Jacobson, 197 U.S. at 27-28. Plaintiffs are not

reasonably likely to demonstrate that the Moratorium was not

rationally related to this legitimate state interest when enacted

in April 2020. The essence of the Moratorium was to keep tenants

in place. As encouraging social distancing was in April 2020 a key

component of the Commonwealth's COVID-19 strategy, and evicting

tenants would reduce their ability to socially distance, the

Moratorium is likely to be found to have been rationally related

to this interest when enacted.

     Therefore, under a Due Process analysis, plaintiffs are not

reasonably likely to prevail on their claim that the Moratorium

violated their constitutional right to access to the courts when

enacted.




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                    Fundamental Rights Analysis

       The Supreme Court has stated that "[t]he right of access to

the courts . . . is founded in the Due Process Clause and assures

that no person will be denied the opportunity to present to the

judiciary      allegations      concerning       violations            of    fundamental

constitutional rights." Wolff v. McDonnell, 418 U.S. 539, 579

(1974) (emphasis added). As explained earlier, however, the right

to   evict    is   not   itself     a   constitutional       right,         let   alone    a

fundamental constitutional right. It is at most a property right

protected by the Due Process Clause. See Rubinovitz, 60 F.3d at

910-11.

       However, the court recognizes that the right to access the

courts to redress wrongs has at times been characterized as "an

aspect of the First Amendment right to petition the government,"

Duryea, 564 U.S. at 387, and that the Supreme Court has at times

characterized that right as "fundamental," see Bounds v. Smith,

430 U.S. 817, 827-28 (1977), abrogated on other grounds by Lewis

v. Casey, 518 U.S. 343 (1996). Nevertheless, strict scrutiny is

not, as      plaintiffs      contend,     required    in    every       case      in   which

fundamental        rights     are       implicated.        See    E.        Chemerinsky,

Constitutional Law 952-54 (5th ed. 2016).

       In determining the applicable level of scrutiny, the court

must    decide     whether    the   statute     "directly        and    substantially"

interferes with the constitutional right at issue. See Lyng v.


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Castillo, 477 U.S. 635, 638 (1986); Zablocki v. Redhail, 434 U.S.

374, 387 & n.12 (1978); Vaughn v. Lawrenceburg Power Sys., 269

F.3d 703, 710 (6th Cir. 2001); see also Chemerinsky, supra, at

952-54. If the statute does not directly and substantially burden

the   fundamental    right   at   issue,   it   is   permissible      if   it   is

reasonable, meaning if it is rationally related to a legitimate

governmental interest. See Lyng, 477 U.S. at 638-39; Zablocki, 434

U.S. at 386, 387 n.12; Vaughn, 269 F.3d at 712. 14

      In Vaughn, the Sixth Circuit stated that it "would find direct

and   substantial   burdens   only   where      a   large   portion   of   those

affected by the rule are absolutely or largely prevented" from

exercising the fundamental right at issue. Id. at 710 (emphases

added). In this case, the Moratorium directly affects plaintiffs'

right to go to court to evict, but not absolutely. Rather, the




14    For example, in Zablocki, the Supreme Court wrote:

      By reaffirming the fundamental character of the right to
      marry, we do not mean to suggest that every state
      regulation which relates in any way to the incidents of
      or prerequisites for marriage must be subjected to
      rigorous   scrutiny.   To   the   contrary,   reasonable
      regulations that do not significantly interfere with
      decisions to enter the marital relationship may
      legitimately be imposed.

434 U.S. at 386 (emphasis added). Similarly, in Vaughn, the Sixth
Circuit   wrote   that   "[i]n   order   to   trigger   heightened
constitutional scrutiny, the challenged portion of the [statute at
issue] must be shown to place a 'direct and substantial burden' on
the right of marriage." 269 F.3d at 710 (citation omitted).


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prohibition    on    exercising   that    right   was   temporary    when    the

Moratorium was enacted, and will expire on October 17, 2020 unless

extended by the Governor.

     In Sosna, the Supreme Court noted that "the gravamen of

[plaintiff's] claim is not total deprivation . . . but only delay."

Sosna, 419 U.S. at 410. The Court went on to state that "the delay

which attends the enforcement of the one-year durational residency

requirement [for accessing the courts to obtain a divorce] is . . .

consistent with the provisions of the United States Constitution."

Id. In reaching this conclusion, the court found that the residency

requirement at issue was "reasonably [] justified" because it was

based "on grounds other than purely budgetary considerations or

administrative convenience." Id. at 406. Accordingly, this court

concludes that, in light of the Moratorium's temporary prohibition

on accessing the Housing Court for summary process, plaintiffs are

not reasonably likely to prove that when enacted in April 2020 the

Moratorium substantially interfered with their right to access the

courts,   even      assuming,   without   finding,      that   the   right   is

fundamental.

     Therefore, the Moratorium will not be found to violate the

right to petition if it was reasonable. See Lyng, 477 U.S. at 638-

39; Zablocki, 434 U.S. at 386. In other words, the Moratorium will

be found constitutional if there was a rational basis for it when

enacted. See Lyng, 477 U.S. at 639. This is the standard that also


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applies if plaintiff's right to petition claim is viewed as a Due

Process claim. See, e.g., Sosna, 419 U.S. at 406, 410.

     As   a    result,    for    the   reasons    discussed     concerning        the

Contracts Clause and in the Due Process analysis, even if the right

to access to the courts is deemed to be a fundamental right,

plaintiffs are not reasonably likely to prove that there was not

a rational basis for the Moratorium in April 2020. Therefore,

plaintiffs are not reasonably likely to prevail on Count I.

              Plaintiffs Are Not Likely to Prove that the Prohibition
              on the Termination of Tenancies and Sending of Certain
              Written Notices Violates the First Amendment

     The Free Speech Clause of the First Amendment provides that

"Congress shall make no law . . . abridging the freedom of speech."

U.S. Const. amend. I. By incorporation through the Fourteenth

Amendment,     "this    prohibition     applies    []   to   states        and   their

political subdivisions." Knights of Columbus v. Town of Lexington,

272 F.3d 25, 30 (1st Cir. 2001).

     Conduct     must    be     "sufficiently     imbued     with    elements      of

communication to fall within the scope of the First [Amendment]."

Spence v. State of Washington, 418 U.S. 405, 409 (1974). Even a

statute which only regulates conduct may implicate the First

Amendment "when 'speech' and 'nonspeech' elements are combined in

the same course of conduct." United States v. O'Brien, 391 U.S.

367, 376 (1968). However, "the First Amendment does not prevent

restrictions     directed       at   commerce    or   conduct       from    imposing


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incidental burdens on speech." Sorrell v. IMS Health Inc., 564

U.S. 552, 567 (2011).

       Content-based restrictions on speech are typically subject to

strict scrutiny. See Barr v. Am. Ass'n Pol. Consultants, 140 S.

Ct. 2335, 2346 (2020). However, "commercial speech" –- speech

"related solely to the economic interests of the speaker and its

audience" –- is afforded less First Amendment protection than other

forms of speech. Cent. Hudson Gas & Elec. Corp. v. Pub. Serv.

Comm'n of New York, 447 U.S. 557, 561 (1980). Restrictions on

commercial speech are subject only to an intermediate level of

scrutiny. See id.; Zauderer v. Off. Disciplinary Couns. Sup. Ct.

Ohio, 471 U.S. 626, 637-38 (1985).

       In Count II, plaintiffs contend that §3(a) of the Act violates

their rights under the Free Speech Clause of the First Amendment

by prohibiting them from terminating a tenancy or sending any

notice requesting or demanding that a tenant vacate the premises.

Plaintiffs do not have a likelihood of success on their claim that

§3(a) of the Act violates the Free Speech Clause of the First

Amendment.

       Section 3(a) of the Act provides that "a landlord or owner of

a property shall not, for the purposes of a non-essential eviction

for a residential dwelling unit: (i) terminate a tenancy; or (ii)

send    any   notice,   including   a    notice   to   quit,   requesting   or

demanding that a tenant of a residential dwelling unit vacate the


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premises." As noted earlier, "[n]on-essential evictions" include

evictions for failure to pay rent. Id. §1.

       A "notice to quit" is a legal notice that a tenant may be

evicted if he or she fails to vacate by a certain date. See Mass.

Gen. Laws ch. 186, §§11-13. Service of a notice to quit is a

prerequisite to the filing of a summary process eviction case. Id.

A notice to quit "declares the landlord's intent to go to court to

seek an eviction order if the tenant does not move out voluntarily

before the stated deadline." Adjartey, 120 N.E.2d at 316.

       The   parties      dispute     the    scope     of   §3(a)'s   prohibitions.

Defendants maintain that §3(a) addresses only legally operative

written notices. Plaintiffs contend the subsection bans "a myriad

of oral and written communications dealing with vital tenancy

issues."     Dkt.   No.    88,   at   5     of   19.   Despite    §3(a)'s   explicit

reference to a statutory notice to quit, the court finds §3(a) to

also    expressly      cover     other      written    notices,    including   text

messages or emails, "requesting or demanding that a tenant . . .

vacate the premises." Although the prohibition in §3(a) is limited

to notices sent "for the purposes of a non-essential eviction," a

reasonable lay person could construe "eviction" to mean more than

a court order resulting from a legal proceeding. Such a person

could, for example, reasonably understand the language prohibiting

"any notice, including a notice to quit," requesting that a tenant




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vacate to be a prohibition on a written offer to pay a tenant to

leave voluntarily. 15

      However, §3(a)(ii) does not, as plaintiffs argue, prohibit

any    oral   communications.      Section    3(a)(ii)    prohibits       only

"send[ing] any notice." An oral communication is not "sent" and,

in any event, is not a "notice." Section 3(a)(ii), therefore,

applies only to written communications.

                  The Prohibition on the Termination of Tenancies
                  Regulates Conduct, Not Speech

      Plaintiffs are unlikely to prove that the prohibition on the

termination of tenancies violates the Free Speech Clause. "It is

the duty of the party seeking to engage in allegedly expressive

conduct to demonstrate that the First Amendment applies to that




15   The Massachusetts Attorney General has indicated in a press
release that the Act prohibits the sending of more than only
statutory notices to quit and similar documents. In discussing
complaints of violations of the Act that the Attorney General has
received, the Attorney General states that the office has heard of
landlords "sending tenants notices to quit that are not labelled
as such." Press Release, Mass. Att'y Gen. Maura Healey, "AG Healey
Calls for Extension of Eviction and Foreclosure Moratorium" (July
17,     2020),     https://www.mass.gov/news/ag-healey-calls-for-
extension-of-eviction-andforeclosure-moratorium.    Although   not
material, this statement reinforces the court's conclusion that
§3(a)(ii) prohibits the sending of any written communication
requesting or demanding that a tenant vacate a rental unit, not
just statutory notices to quit.

     The Attorney General also states in the same press release
that "[i]t is unlawful to threaten, intimidate, or coerce a tenant
to get them to leave the property," without identifying what law
such actions would violate. Id.


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conduct." Wine & Spirits Retailers, Inc. v. Rhode Island, 418 F.3d

36, 49 (1st Cir. 2005). Plaintiffs are unlikely to do so with

regard to the termination of tenancies.

      Terminating a tenancy alone is conduct, not speech, and it

does not necessarily include any "communicative elements." Texas

v.    Johnson,   491    U.S.      397,    404    (1989).     The    prohibition      on

terminating tenancies, therefore, is not likely to be found to

implicate the First Amendment. See, e.g., HomeAway.com, Inc. v.

City of Santa Monica, 918 F.3d 676, 685 (9th Cir. 2019) ("Because

the   conduct    at    issue   --    completing       booking      transactions      for

unlawful rentals -- consists only of nonspeech, nonexpressive

conduct, we hold that the Ordinance does not implicate the First

Amendment.").

                   The Prohibition on Sending Statutory Notices to
                   Quit Governs Conduct which only Incidentally
                   Effects Speech and, therefore, Does Not Violate the
                   First Amendment

      Plaintiffs      are   not     likely      to   prove   that    the   §3(a)(ii)

prohibition on sending statutory notices to quit violates the First

Amendment.

      Plaintiffs      acknowledge        that    "[a]   notice      to   quit   or    to

terminate a tenancy is . . . a legal notice that a lease or tenancy

is terminated." Mem. Supp. Mot. Prelim. Inj. 15 of 35 (Dkt. No.

6). It is, therefore, primarily a form of conduct.




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      As noted earlier, the Supreme Court has held that "the First

Amendment does not prevent restrictions directed at commerce or

conduct from imposing incidental burdens on speech." Sorrell, 564

U.S. at 567; see also Expressions Hair Design v. Schneiderman, 137

S.   Ct.   1144,   1151   (2017).   "[I]t   has   never   been   deemed   an

abridgement of freedom of speech or press to make a course of

conduct illegal merely because the conduct was in part initiated,

evidenced, or carried out by means of language, either spoken,

written, or printed." Giboney v. Empire Storage & Ice Co., 336

U.S. 490, 502 (1949). For example, in Giboney, the Supreme Court

affirmed an injunction against otherwise lawful picketing because

the sole purpose of the picketing was to force the defendant to

enter into an agreement in restraint of trade in violation of a

state criminal antitrust statute. See id. at 501-02.

      In amplifying Giboney, the Supreme Court wrote in Rumsfeld v.

Forum for Academic and Institutional Rights, Inc., 547 U.S. 47, 52

(2006), that:

      Congress, for example, can prohibit employers from
      discriminating in hiring on the basis of race. The fact
      that this will require an employer to take down a sign
      reading "White Applicants Only" hardly means that the
      law should be analyzed as one regulating the employer's
      speech rather than conduct. See R.A.V. v. St. Paul, 505
      U.S. 377, 389 (1992) ("[W]ords can in some circumstances
      violate laws directed not against speech but against
      conduct.").




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See also Pitt. Press Co. v. Pitt. Comm'n on Hum. Rels., 413 U.S.

376, 389 (1973) (newspaper publisher challenging ordinance had no

First Amendment interest in placing want ads for employment which

aided    employers      in     indicating       illegal      gender-based         hiring

preferences because the restriction on advertising was incidental

to ordinance's prohibition of discrimination in employment based

on gender).

     In the instant case, the purpose of sending a statutory notice

to quit would be to initiate a judicial eviction unless the tenant

voluntarily departed. However, all non-essential evictions are

prohibited while the Moratorium is in effect. Therefore, the

prohibition     on    sending     statutory        notices      to   quit   addresses

preventing     unlawful      conduct,      which    only     incidentally     burdens

speech   and   is     not    likely   to   be   found      to   violate     the    First

Amendment. See Giboney, 336 U.S. at 501-02; Rumsfeld, 547 U.S. at

52; Pitt. Press. Co., 413 U.S. at 389.

                     With regard to Non-Statutory Requests that a Tenant
                     Leave, §3(a)(ii) Is Not an Unconstitutional
                     Restriction of Commercial Speech

     To the extent that §3(a)(ii) covers notices requesting or

demanding that a tenant vacate in addition to statutory notices to

quit, it is a restriction on commercial speech. 16 As explained




16   In arguing the motion for preliminary injunction, plaintiffs'
counsel stated that §3(a) regulates commercial speech and is


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below, plaintiffs are unlikely to prove that this restriction

violates the First Amendment. The following analysis would also

apply to the prohibition on sending statutory notices to quit if

it were not deemed to be a prohibition of conduct with only an

incidental impact on speech.

     The constitutionality of regulations concerning commercial

speech is analyzed under the "intermediate scrutiny" standard

first articulated by the Supreme Court in Central Hudson, 447 U.S.




subject to intermediate scrutiny. See, e.g., Aug. 26, 2020 Tr. 14,
17 (Dkt. No. 120). However, in their opposition to defendants'
motion to dismiss the amended complaint, plaintiffs contend that
pursuant to the recent Supreme Court decision in Barr, 140 S. Ct.
at 2346-47, the Act is a content-based restriction on landlords'
speech and is, therefore, subject to strict scrutiny. See Opp'n
Mot. Dismiss Am. Compl. 8-9 (Dkt. No. 88).

     In Barr, the Court found a ban on robocalls that contained an
exception for robocalls relating to a debt owed to the federal
government was a content-based regulation of speech and,
therefore, subject to strict scrutiny. See Barr, 140 S. Ct. at
2346-47. Analogizing to Barr, plaintiffs contend that the Act
singles out speech by landlords for regulation, and as such is a
content-based regulation of speech subject to strict scrutiny.

     This argument is unmeritorious. "Appropriately tailored
regulations of commercial speech . . . will necessarily target
specific content and speakers." Dana's R.R. Supply v. Fla. Att'y
Gen., 807 F.3d 1235, 1248 (11th Cir. 2015). Although §3(a) applies
only to "a landlord or owner of a property", this does not create
a speaker-based restriction because only a landlord or owner would
be in a position to send a notice requesting or demanding that a
tenant vacate the premises. To the extent plaintiffs contend that
Barr has altered the level of scrutiny applicable here, in Barr
the plurality explicitly stated that it did not intend to alter
settled First Amendment law. See Barr, 140 S. Ct. at 2347.


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at 564, and interpreted by it in Board of Trustees of the State

University of New York v. Fox, 492 U.S. 469 (1989), Florida Bar v.

Went For It, Inc., 515 U.S. 618 (1995), and Lorillard Tobacco Co.

v. Reilly, 533 U.S. 525 (2001). In Central Hudson, the Court stated

that:

     In commercial speech cases [] a four-part analysis has
     developed. At the outset, we must determine whether the
     expression is protected by the First Amendment. For
     commercial speech to come within that provision, it at
     least must concern lawful activity and not be
     misleading.   Next,  we   ask   whether  the   asserted
     governmental interest is substantial. If both inquires
     yield positive answers, we must determine whether the
     regulation directly advances the governmental interest
     asserted, and whether it is not more extensive than is
     necessary to serve that interest.

447 U.S. at 566.

     Sending of a statutory notice to quit would fail the first

part of this test. Such notices would be misleading because they

would   express   the   landlord's   intention   to   initiate   eviction

proceedings promptly at a time when such proceedings are prohibited

by the §3(b) of the Moratorium. See Adjartey, 120 N.E.2d at 316 (a

notice to quit "declares the landlord's intent to go to court to

seek an eviction order if the tenant does not move out voluntarily

before the stated deadline"); cf. In re R.M.J., 455 U.S. 191, 203

(1982) ("Misleading advertising may be prohibited entirely.").




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     Other notices requesting or demanding that a tenant vacate

would not be misleading. However, §3(a)'s prohibition of them

likely satisfies the other elements of the Central Hudson test.

     As explained earlier, it is undisputed that in April 2020 the

governmental interest in limiting the spread of the COVID-19 virus

was legitimate and substantial. Defendants are not likely to prove

that a prohibition on the sending of written notices requesting or

demanding that a tenant vacate does not "directly advance[]" the

government's asserted interest. Cent. Hudson, 447 U.S. at 566. As

also explained earlier, in April 2020, the legislature and Governor

had a proper basis to conclude that: (1) the COVID-19 virus is

spread from person to person, and, therefore, social distancing is

desirable; and (2) evictions would result in "doubling-up" and

overcrowding in apartments, overcrowding in homeless shelters, and

an increase of homeless people living on the streets. Requiring or

prompting tenants to leave their rental units would injure the

government's interest in limiting the spread of COVID-19. See,

e.g., Gaeta Aff. ¶¶8, 32-33 (Dkt. No. 30-9) (indicating that

individuals   who   are   evicted   may   "double   up"   in   the   home   of

relatives or friends or end up in homeless shelters, increasing

their risk of contracting or spreading the COVID-19 virus); Barocas

Aff. ¶26 (Dkt. No. 30-5) (explaining that individuals living

"unsheltered" on the street are unable to practice proper social

distancing and hygiene).


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      The mere sending of statutory notices to quit, or requesting

or demanding that a tenant vacate, could result in their leaving

without a court order. As the Supreme Judicial Court has written,

a tenant who receives a notice to quit "may reasonably –- but

incorrectly –- believe the notice to quit to mean that he or she

must move out before the deadline." Adjartey, 120 N.E.3d at 316.

This would also be true of notices that demand that a tenant leave

but do not meet the requirements for a statutory notice to quit.

For   example,   the    record   includes    a   study    indicating   that   a

significant number of tenants who receive an informal demand to

vacate the premises do so before judicial eviction proceedings are

initiated or concluded. See Caramello Aff. ¶¶21-25 (Dkt. No. 72-

1) (citing M. Desmond & T. Shollenberger, Forced Displacement from

Rental    Housing:     Prevalence   and    Neighborhood    Consequences,      52

Demography 1751 (2015)). As even the "threat of eviction" may cause

many tenants to vacate, id. at ¶25, the prohibition on sending all

notices requesting or demanding that a tenant vacate the premises

directly advances the state's interest in limiting the spread of

the COVID-19 virus.

      Although a closer question, plaintiffs are not likely to prove

that §3(a)(ii)'s prohibition on sending notices is "more extensive

than is necessary" to serve the government's interest. Cent.

Hudson, 447 U.S. at 566. The Supreme Court explained the meaning

of this prong of the Central Hudson test in Florida Bar, writing:


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     In Fox, we made clear that the "least restrictive means"
     test has no role in the commercial speech context. "What
     our decisions require," instead, "is a 'fit' between the
     legislature's ends and the means chosen to accomplish
     those ends," a fit that is not necessarily perfect, but
     reasonable; that represents not necessarily the single
     best disposition but one whose scope is 'in proportion
     to the interest served,' that employs not necessarily
     the least restrictive means but . . . a means narrowly
     tailored to achieve the desired objective." Of course,
     we do not equate this test with the less rigorous
     obstacles of rational basis review; in Cincinnati v.
     Discovery Network, Inc., 507 U.S. 410, 417, n.13 (1993),
     for example, we observed that the existence of "numerous
     and   obvious   less-burdensome   alternatives  to   the
     restriction on commercial speech . . . is certainly a
     relevant consideration in determining whether the 'fit'
     between ends and means is reasonable."

515 U.S. at 632 (quoting Fox, 492 U.S. at 480) (internal citations

omitted). The Supreme Court reiterated in Lorillard that the "final

step of the Central Hudson analysis . . . requires a reasonable

fit between the means and ends of the regulatory scheme." 533 U.S.

at 561.

     In this case, plaintiffs are not likely to prove that there

is not a reasonable fit between the §3(a) prohibition on sending

statutory notices to quit, and other notices asking or demanding

that a tenant vacate, and the state's interest in April 2020 in

limiting the spread of the COVID-19 virus. Plaintiffs claim that

this interest could be adequately served by allowing summary

process cases to be filed and be litigated, and giving Housing

Court judges the authority to stay orders of eviction. However,

even assuming, without finding, this is true, the state is not


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required to employ the least burdensome means of serving its

important interest. See Florida Bar, 515 U.S. at 632. As indicated

earlier, the Supreme Judicial Court has found that "[b]ecause the

document's title –- 'notice to quit' -– does nothing to clarify

its meaning, a tenant may reasonably misunderstand the legal force

of a notice to quit. . . . [A] tenant may reasonably -– but

incorrectly -– believe the notice to quit to mean that he or she

must move out before the deadline." Adjartey, 120 N.E.3d at 316.

The evidence to date indicates that many people vacate before being

ordered by a court to do so. See Caramello Aff. ¶¶21-25 (Dkt. No.

72-1). Therefore, there is a "fit" between §3(a)'s prohibition on

the sending of notices and the state's interest in limiting the

spread of the COVID-19 virus.

     There are evidently other, less burdensome alternatives to

the restriction on commercial speech than the §3(a) prohibition on

sending   notices   imposes.   As   explained   earlier,   other   states,

cities, and the federal government have moratoria on evictions.

The parties have not cited, and the court is not aware of, any

other moratorium with a provision comparable to §3(a), except for

Connecticut's, which prohibits the sending of statutory notices to

quit, but not other written requests. See Conn. Moratorium. See

also note 10, supra. This indicates that elected officials in other

states and the CDC have determined that an eviction moratorium can

be effective without a counterpart to §3(a). The existence of


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adequate alternatives is a "relevant consideration in determining

whether the 'fit' between ends and means is reasonable." Florida

Bar, 515 U.S. at 632 (quoting Cincinnati, 507 U.S. at 415 n.13).

However, it is not necessarily dispositive, in part, the court

infers, because there can be more than one reasonable "fit." Id.

       In   this      case,     when    enacted       in       April    2020,    the    §3(a)

prohibition        on   sending      notices        was    temporary       and    initially

intended to be in effect for only four months. There was a basis

for the legislature and Governor to conclude that the mere sending

of statutory notices to quit, or other written requests or demands

to vacate, would prompt the displacement of many tenants and thus

increase the spread of the COVID-19 virus. In these circumstances,

the    court    finds     plaintiffs       are      unlikely       to    prove    that    the

Moratorium      was     not,    in     April    2020,      a    "reasonable      fit"    and,

therefore, fails the Central Hudson test.

       In view of the foregoing, plaintiffs are not likely to prove

that    when    enacted    in    April     2020,      §3(a)      violated       their   First

Amendment rights.

               Plaintiffs Have Standing to Assert and Are Likely to
               Prove that the Second Paragraph Required by 400 C.M.R.
               §5.03(2) Violates the First Amendment

       In Count III, plaintiffs allege that regulation 400 C.M.R.

§5.03(2) compels speech in violation of the First Amendment because

it requires any landlord who wishes to send a notice to a tenant

about missed rent payments to include certain language, and provide


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tenants with addresses to non-governmental websites of groups that

will assist tenants in resisting their landlords' efforts to regain

possession of their property. Among other things, the websites

advise    tenants     on   how    to    contact   City     Life/Vida    Urbana,     the

organization which had a leading role in the enactment of the

Moratorium      and   unsuccessfully        sought    to    intervene      to   oppose

plaintiffs in this case. 17

     In their Motion to Dismiss the Amended Complaint, defendants

argue    that   plaintiffs       lack    standing    to    bring   this    claim.   In

essence,    defendants      contend       that    because    plaintiffs      are    not

required to send notices of rent arrearage to their tenants, there

is not compelled speech.

     For    the     reasons      explained      below,    the   court     finds    that

plaintiffs have standing to assert the compelled speech claim

alleged in Count III. In addition, the court finds that plaintiffs

are likely to prevail on their claim that the second paragraph of

400 C.M.R. §5.03(2) unconstitutionally compels speech by requiring




17   As explained earlier, one of the sponsors of the Moratorium
legislation, Representative Mike Connolly, posted an announcement
to his website thanking City Life/Vida Urbana and crediting it for
working with other advocates on the bill. See Press Release, Mass.
State Rep. Mike Connolly, "Introducing legislation to halt
evictions and foreclosures during COVID-19 emergency" (Mar. 13,
2020),
https://www.repmikeconnolly.org/moratorium_evictions_foreclosure
s_coronavirus_emergency_connolly_honan; see also Dkt. No. 67, at
16 n.10.


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plaintiffs to include in any notice of rent arrearage addresses of

non-governmental websites that, in turn, refer tenants to tenant

advocacy groups, including City Life/Vida Urbana, with interests

adverse to plaintiffs'. As Massachusetts law provides that the

regulation is severable, the statute, the other paragraphs of

§5.03(2),    and    the   other   regulations   promulgated   under     the

Moratorium Act, are not affected.

     The court will not enter a preliminary injunction against

enforcement of that portion of §5.03(2) of the regulation, if

defendants confirm, as they previously represented, that they will

act consistently with the court's findings without the issuance of

an injunction. See Aug. 24, 2020 Tr. 9:21-11:6, 62:17-21 (Dkt. No.

108).

            1.     The Regulation

     The relevant regulation, 400 C.M.R. §5.03(2) provides:

     (2) In order to minimize the risk that a tenant will
     face eviction for an accumulated non-payment of rent
     once the Act expires, and to promote the prompt
     resolution of such situations without resorting to the
     court system, landlords should provide tenants of
     residential dwelling units a written notice of each
     missed rent payment. If a landlord delivers such a
     notice,   the  notice   must   include  the   following
     statements, prominently displayed on the first page:

            "THIS IS NOT A NOTICE TO QUIT. YOU ARE NOT
            BEING EVICTED, AND YOU DO NOT HAVE TO LEAVE
            YOUR HOME. An emergency law temporarily
            protects tenants from eviction during the
            COVID-19 emergency. The purpose of this notice
            is to make sure you understand the amount of
            rent you owe to your landlord."


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          "For information about resources that may help
          you pay your rent, you can contact your
          regional Housing Consumer Education Center.
          For     a     list     of    agencies,     see
          https://www.masshousinginfo.org/regional-
          agencies.    Additional   information    about
          resources   for   tenants  is   available   at
          https://www.mhp.net/news/2020/resources-for-
          tenants-during-covid-19-pandemic."

          "You will not be subject to late fees or a
          negative report to a credit bureau if you
          certify to your landlord in writing within 30
          days from the missed payment that your non-
          payment of rent is due to a financial impact
          from COVID-19. If possible, you should use the
          approved               form                at:
          https://www.mass.gov/lists/moratorium-on-
          evictions-and-foreclosures-forms-and-other-
          resources. If you cannot access the form on
          this website, you can ask your landlord to
          provide the form to you. You may also send a
          letter or email so long as it contains a
          detailed explanation of your household loss in
          income or increase in expenses due to COVID-
          19."

     The notice may also include other information that will
     promote the prompt and non-judicial resolution of such
     matters, such as the total balance due, the months
     remaining and the total of lease payments expected to be
     made on a lease for a term of years, information on how
     to contact the landlord to work out a revised payment
     arrangement, and a reminder that after the state of
     emergency ends the tenant may face eviction if rent
     remains unpaid.

     (3) If a landlord knows that the tenant is not proficient
     in English, the landlord should use reasonable efforts
     to deliver the notice in a language that the tenant
     understands. Landlords are encouraged to include with
     the notice a statement that the notice is important and
     should be translated, a form of which is available on
     the EOHED website.

Id. (emphases added). The first web address in the second paragraph

directs the user to a website listing each of the regional housing


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authorities,     which   are   responsible   for,   among   other   things,

administering programs that provide eligible households with money

that may be used for rent or other housing costs. Plaintiffs

contend that the regional housing authorities often favor tenants'

interests over landlords' interests.

     The second web address in the second paragraph of §5.03(2)

directs the user to a website maintained by the Massachusetts

Housing Partnership, a statewide non-profit affordable housing

organization that plaintiffs assert often advocates for tenants in

opposition to landlords. The Massachusetts Housing Partnership

website contains resources for Massachusetts tenants in English,

Spanish,   and   Portuguese,    including    addresses   for   websites   of

organizations that will provide tenants legal assistance. Among

other things, it includes the following text:

     Eviction

     Almost all evictions in Massachusetts are temporarily
     banned until August 18, 2020 or 45 days after the end of
     the COVID-19 state of emergency, whichever comes first.

     Even though evictions are temporarily banned, your rent
     is still due on the usual dates. After the emergency you
     can still be evicted if your rent is unpaid and you have
     not made payment arrangements with your landlord. If you
     are unable to pay your rent, seek assistance now and
     reach out early to your landlord to discuss potential
     payment plans or accommodations. Here is an article with
     some helpful suggestions about dealing with your
     landlord:   https://www.cnbc.com/2020/04/03/what-to-do-
     if-you-cantpay-rent-because-of-the-coronavirus-
     pandemic.html

     If you are dealing with an eviction that was already in
     progress, here is a good source of legal information


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     about when cases can proceed in housing court:
     https://www.masslegalhelp.org/covid-19/eviction-court-
     updates. They also have information about how to find a
     lawyer if you think you need one.

     If your landlord is threatening to lock you out or evict
     you, or is turning off the utilities in your unit, you
     can           find           information            here
     https://www.masslegalhelp.org/health-
     mentalhealth/covid-19-illegal-eviction     about    your
     rights and how to get legal help.

     You might also contact City Life/Vida Urbana, which is
     a tenant advocacy group. Ask them if they can help you
     or give you a referral. English (617) 934-5006 Español
     (617) 397-3773.

MHP, "MHP resources for Massachusetts tenants during the COVID-19

pandemic"                   (May                 5,                2020),

https://www.mhp.net/writable/resources/documents/Resources-for-

tenants_updated_6-12-20.pdf (emphasis in last paragraph added).

            2.   Standing

     Defendants contend that plaintiffs lack standing to assert a

compelled   speech   claim.   At   least   for   present   purposes,    this

contention is incorrect.

     The First Circuit addressed standing in cases alleging that

government action discourages or "chills" protected speech in

National Organization for Marriage v. McKee, 649 F.3d 34, 46-47

(1st Cir. 2011):

     The constitutional aspect of standing embraces three
     core requirements:

            "First, the plaintiff must have suffered an
            'injury in fact' -- an invasion of a legally
            protected interest which is (a) concrete and
            particularized, and (b) 'actual or imminent,


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             not "conjectural" or "hypothetical."' Second,
             there must be a causal connection between the
             injury and the conduct complained of -- the
             injury has to be 'fairly trace[able] to the
             challenged action of the defendant, and not
             . . . th[e] result [of] the independent action
             of some third party not before the court.'
             Third, it must be 'likely,' as opposed to
             merely 'speculative,' that the injury will be
             'redressed by a favorable decision.'"

     Ariz. Christian Sch., 131 S. Ct. at 1442 (quoting Lujan
     v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)).

Id. The First Circuit then discussed chilled speech in the context

of the injury-in-fact element of this test:

     [T]he Supreme Court has recognized "self-censorship" as
     "a harm that can be realized even without an actual
     prosecution." Virginia v. Am. Booksellers Ass'n, 484
     U.S. 383, 393 (1988); see also N.H. Right to Life
     Political Action Comm. v. Gardner, 99 F.3d 8, 13 (1st
     Cir. 1996) ("[I]t is not necessary that a person expose
     herself to arrest or prosecution under a statute in order
     to challenge that statute in a federal court."). The
     chilling of protected speech may thus alone qualify as
     a cognizable, Article III injury.

     The mere allegation of a "chill," however, will not
     suffice to open the doors to federal court. See Laird v.
     Tatum, 408 U.S. 1, 13-14 (1972) ("Allegations of a
     subjective 'chill' are not an adequate substitute for a
     claim of specific present objective harm or a threat of
     specific future harm . . . ."). Where, as here, the
     plaintiff claims injury based on such a chilling of
     speech, the plaintiff must establish with specificity
     that she is "within the class of persons potentially
     chilled." Osediacz, 414 F.3d at 142. This burden will be
     satisfied by record evidence supporting "an objectively
     reasonable possibility that she would be subject to the
     allegedly unconstitutional [law]." Id. at 143 . . . .

Id. at 47.

     Here,    plaintiffs   have   adequately   alleged   that   they    are

subject to the allegedly unconstitutional regulation. For example,


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in her supplemental affidavit, Baptiste states that she feels it

is impossible to communicate with her tenants because they do not

answer the telephone, and if she wants to communicate in writing,

she is required to provide them with contact information for tenant

organizations that are fighting landlords, including by advocating

for legislation that she characterizes as "cancel[ling] rent for

one year." Baptiste Suppl. Aff. ¶¶5, 6 (Dkt. No. 60). Because

Baptiste has alleged that she wants to contact her tenants in

writing about their unpaid rent, but is not doing so because she

would have to include the language she finds objectionable that is

required by the regulation, Baptiste is engaged in self-censorship

which suffices to establish standing for present purposes. See

Nat'l Org. for Marriage, 649 F.3d at 46-47. See also Dubois v.

U.S. Dep't of Agriculture, 102 F.3d 1273, 1282 (1st Cir. 1996)

("[T]he court need not determine the standing of all plaintiffs if

at least one plaintiff has standing to maintain each claim.").

                3.    Compelled Speech

     In   contrast   to   §3(a)   of   the   statute,   §5.03(2)   of   the

regulation is a content-based regulation of speech, not merely a

restriction on conduct with an "incidental burden[] on speech."

See Nat'l Inst. of Fam. & Life Advocs. (NIFLA) v. Becerra, 138 S.

Ct. 2361, 2373 (2018) (quoting Sorrell, 564 U.S. at 567). As the

Supreme Court noted in Becerra, "drawing the line between speech

and conduct can be difficult . . . ." Id. However, the Court


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treated    as    speech,     not    conduct,    a    law   that    required    crisis

pregnancy       centers     that    discouraged       abortion      to   disseminate

government-drafted notices of the availability of state-sponsored

abortion services. Id. at 2373-74.

      In Becerra, the Court distinguished the notices that included

the   required         language    concerning       abortion      services    from   a

requirement      that     doctors    provide    to    patients     the   information

necessary for them to give "informed consent" before medical

procedures because informed consent relates directly to services

the doctors wish to render. Id. at 2373. In addition, informed

consent has legal significance, as it distinguishes a valid medical

procedure       from    battery.    Id.   Therefore,       the    requirement    that

doctors provide patients certain information before performing a

medical procedure was deemed conduct with only an incidental burden

on speech. Id.

      As explained earlier, in the instant case the prohibition on

the sending of statutory notices to quit in §3(a) of the Act is

directed at a landlord's act of sending a notice to quit to a

tenant, and the document has legal significance because a notice

to quit is a prerequisite to the filing of a summary process

eviction action. Therefore, §3(a)'s prohibition on the sending of

statutory notices to quit regulates conduct with only an incidental

burden on speech.




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     In contrast, §5.03(2) of the regulation encourages landlords

to send notices of rent arrearage and, if a landlord does that,

requires the inclusion of specific language. Such a notice is not

mandatory and does not have independent legal significance. It

only informs a tenant of the amount of rent owed and related

matters. Therefore, §5.03(2) imposes content-based restrictions on

speech, not merely restrictions on conduct with an incidental

effect on speech. Thus, the standards and analysis that applied to

§3(a)'s prohibition of the sending of statutory notices to quit do

not apply to the challenged regulation.

     The Supreme Court has "applied a lower level of scrutiny to

laws that compel disclosures in certain contexts." Becerra, 138 S.

Ct. at 2372 (citing Zauderer, 471 U.S. at 651). More specifically,

"the State may at times 'prescribe what shall be orthodox in

commercial advertising' by requiring the dissemination of 'purely

factual and uncontroversial information,' . . . [but] outside that

context it may not compel affirmance of a belief with which the

speaker disagrees[.]" Hurley v. Irish-Am. Gay, Lesbian & Bisexual

Grp. of Bos., 515 U.S. 557, 573 (1995) (quoting Zauderer, 471 U.S.

at 651) (internal citations omitted).

     In Becerra, the Supreme Court emphasized that the lower

Zauderer standard for reviewing disclosures applies to commercial

speech concerning state-mandated "disclosure of 'purely factual

and uncontroversial information about the terms under which . . .


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services will be available.'" Becerra, 138 S. Ct. at 2372 (quoting

Zauderer,    471   U.S.     at   651).     It    held,     therefore,   that   such

disclosures "should be upheld unless they are 'unjustified or

unduly burdensome,'" id., and based this ruling on its holding in

Zauderer that "an advertiser's rights are adequately protected as

long as disclosure requirements are reasonably related to the

State's interest in preventing deception of consumers." Zauderer,

471 U.S. at 651.

      However, the Court also held that Zauderer did not apply to

the information that California required crisis pregnancy centers

to provide. Becerra, 138 S. Ct. at 2372. It reached this conclusion

because the mandated information "in no way relate[d] to the

services that licensed clinics provide. Instead, it require[d]

these    clinics     to    disclose   information        about   state-sponsored

services -- including abortion, anything but an 'uncontroversial'

topic." Id. (emphasis in original). Therefore, the Court held that

the     reasonably        related,    or        rational     basis,     test    for

constitutionality that applied to the disclosures in Zauderer did

not apply to the California statute at issue in Becerra. Id.

      In Becerra, the Court went on to hold that the statute did

not "survive even intermediate scrutiny," which it characterized

as requiring that the statute be "sufficiently drawn to achieve"

a "substantial state interest." Id. at 2375; see also Sorrell, 564

U.S. at 571-72; Cent. Hudson, 447 U.S. at 566.


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      Again, §5.03(2) requires that landlords include in any notice

of rent arrearage they send to tenants two types of disclosures.

As   explained    earlier,      the   second     required   paragraph    mandates

giving tenants who are sent notices of rent arrearage the addresses

to websites maintained by non-governmental organizations, one of

which includes referrals to tenant advocacy groups. The court finds

plaintiffs     are     likely   to    prove     that,   with   respect   to   this

paragraph, this case is analogous to Becerra and the requirement

is likely to be proven to violate the First Amendment. This

required information concerns services provided by tenant advocacy

organizations and does not relate directly to the services provided

by landlords. Therefore, it is not subject to the rational basis

review that disclosures receive under Zauderer. See Becerra, 138

S. Ct. at 2372. Instead, it is subject to at least intermediate

scrutiny. Id. at 2375.

      In April 2020, minimizing evictions in the midst of the COVID-

19 pandemic was a substantial state interest. However, requiring

that landlords who want to write tenants to inform them of how

much rent they owe also refer those tenants to private advocacy

groups that are adverse to the landlords' interests is not a means

of   serving     the    state's      interest    that   survives   intermediate

scrutiny. While it is a fact that organizations like City Life/Vida

Urbana provide legal services to tenants who want to resist being

evicted, they also engage in other activities including, among


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other things, advocating for legislation that restricts landlords'

rights to evict, and litigating against them. As the Supreme Court

explained in 1995, with regard to the Boston St. Patrick's Day

Parade, the "general rule, that [a] speaker has the right to tailor

[his or her] speech, applies not only to expressions of value,

opinion, or endorsement, but equally to statements of fact the

speaker would rather avoid." Hurley, 515 U.S. at 573. As the Court

explained, this is because "[s]ince all speech inherently involves

choices of what to say and what to leave unsaid, one important

manifestation of the principle of free speech is that one who

chooses to speak may also decide 'what not to say.'" Id. (internal

quotation marks and citations omitted) (emphasis in original).

Plaintiffs do not want to encourage their tenants to work with

private   organizations    to   frustrate      the    landlords'   efforts   to

regain possession of their property. They also do not want to

appear    to   be   endorsing    City       Life/Vida     Urbana   and    other

organizations by, in effect, seeming to recommend that their

tenants seek assistance from them. Plaintiffs are likely to prove

that they may not be compelled to do so.

     There are constitutionally permissible means of advancing the

state    interest   in   minimizing     evictions       and   displacement   of

tenants, such as by requiring the statements in the first and third

paragraphs of §5.03(2). However, requiring plaintiffs to refer

tenants   to   organizations    which      advocate    positions   with   which


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plaintiffs disagree, and which oppose the landlords' interests in

the political arena and in court, is not one of them. See Becerra,

138 S. Ct. at 2376 (describing other means, such as a public-

information      campaign,    that   California    could      have   pursued   to

disseminate information to pregnant women). Therefore, plaintiffs

are likely to prove that the second paragraph of §5.03(2) does not

survive   even     intermediate      scrutiny     and    is   unconstitutional

compelled speech. 18

     The first and third required paragraphs of §5.03(2), which

require that notices of missed payments inform tenants that they

cannot be evicted, and of the circumstances in which they may not

be charged late fees or subjected to negative credit reports, are

likely to be found constitutional, whether or not viewed as mere

disclosures under Zauderer. These paragraphs inform tenants of

rights they have or will have if they inform their landlord that

their missed payments are due to COVID-19. They are accurate,

factual statements of the law. Although the landlords contend that

they disagree with the law, the statements are not "controversial"

because   they    correctly    describe     the   law.   Therefore,    Zauderer




18   Indeed, the court believes that the second paragraph required
by §5.03(2) may not survive rational basis review. See Hurley, 515
U.S. at 573-74; but see CTIA - The Wireless Assoc. v. City of
Berkeley, 928 F.3d 832, 843 (9th Cir. 2019).


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provides the proper framework for assessing these paragraphs, and

rational basis review is the proper test to apply to them.

     There is a rational basis for requiring landlords to provide

these disclosures to tenants. Although they are a form of speech,

they serve the legitimate governmental interest in minimizing the

risk that tenants will believe that they are legally required to

leave or believe they will soon be ordered to leave by a court.

See Adjartey, 120 N.E.3d at 316. Therefore, requiring that a

written notice of missed rent make clear that it is not a notice

to quit, the tenant is not being evicted, and the tenant does not

have to leave the home is reasonably related to the state's

interest in assuring that tenants do not misunderstand the import

of the document. 19 The same is true of the third paragraph of

§5.03(2).

     Accordingly,    §5.03(2)    is    likely   to   be   proven   in    part

constitutional    and   in   part     unconstitutional.     However,      the




19   Even if Zauderer did not apply, the first and third required
paragraphs would also likely survive intermediate scrutiny, which
generally applies to content-based regulations of speech in
commercial contexts. See Becerra, 138 S. Ct. at 2372; Sorrell, 564
U.S. at 571-72; Cent. Hudson, 447 U.S. at 566. For the reasons
discussed above with respect to §3 of the Act, the government has
a substantial interest in preventing the spread of the COVID-19
virus through eviction or displacement of tenants, and informing
tenants of their rights under the Moratorium Act promotes that
interest by reducing the likelihood that tenants will move
voluntarily to avoid late fees, negative credit reports, or
eviction proceedings.


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unconstitutionality of part of the regulation does not affect the

constitutionality      of     the   Moratorium    statute.        Nor     does   it

invalidate §5.03(2) as a whole because the regulation is severable.

     Whether a state regulation is severable is a question governed

by state law. See, e.g., Leavitt v. Jane L., 518 U.S. 137, 137-39

(1996); Schwann v. FedEx Ground Package Sys., Inc., 813 F.3d 429,

440 (1st Cir. 2016). Under Massachusetts law, "even without an

express severability clause in [a statute or regulation], there is

a   'well-established          judicial     preference       in         favor     of

severability' . . . ." Peterson v. Comm'r of Revenue, 825 N.E.2d

1029, 1038 (Mass. 2005) (quoting Murphy v. Comm'r Dep't Indus.

Accs., 635 N.E.2d 1180, 1183 n.3 (Mass. 1994)); accord Schwann,

813 F.3d at 440 (citing Peterson, 444 Mass. at 138). "In divining

legislative   intent,       Massachusetts   courts   consider      whether       the

structure of the statute allows the valid provisions to stand

independent of the invalid, or whether the provisions are so

entwined that 'the Legislature could not have intended that the

part otherwise valid should take effect without the invalid part.'"

Id. at 440-41 (quoting Murphy, 635 N.E.2d at 1183).

     Here, the standards for severability are met. Section 3(g) of

the Act requires that the Executive Office of Housing and Economic

Development promulgate regulations to clarify and implement the

Act. Invalidation of the statements referring tenants to the

regional   agencies,    the    Massachusetts     Housing   Partnership,          and


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tenant advocacy groups would not "impair the function of the

statute [or the regulation] as a whole," as the principal purpose

of this regulation is to require landlords to include disclosures

to clarify tenants' statutory rights under their lease. Therefore,

severing   the     second   required     paragraph    of    §5.03(2)   of    the

regulation is appropriate.

           A Preliminary Injunction Will Issue If Necessary

     As plaintiffs have a reasonable likelihood of proving their

compelled speech claim, they have satisfied the first essential

requirement for obtaining a preliminary injunction. See, e.g.,

Gately, 2 F.3d at 1225. They have also satisfied the second

essential requirement because "irreparable injury is presumed upon

a determination that the movants are likely to prevail on [a] First

Amendment claim." Sindicato Puertorriqueño, 699 F.3d at 10-11

(citing Elrod, 427 U.S. at 373). Therefore, plaintiffs are eligible

for preliminary injunctive relief.

     The   court    must,     however,   also    consider    the   balance    of

hardships and the public interest. Charlesbank Equity Fund II, 370

F.3d at 162. The balance of hardships favors plaintiffs. If a

preliminary      injunction     issues      against   the   continuation      or

enforcement of the second paragraph required by §5.03(2), the

defendants will still have the other, likely constitutional means

to serve their interest in temporarily restricting evictions.

However, in the absence of relief, plaintiffs will continue to be


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irreparably injured. The public interest would also be served by

such an injunction as it would protect constitutional rights and

remind elected officials of their responsibility to respect them.

      Therefore, if necessary, the court will issue a preliminary

injunction concerning the second paragraph required by §5.03(2).

However, as indicated earlier, defendants have represented that

they would obey a declaration of this court without the issuance

of an injunction, subject to their right to seek a stay and appeal.

See Aug. 24, 2020 Tr. 9:21-11:6, 62:17-21 (Dkt. No. 108). The court

is,   therefore,    providing   them    an   opportunity   to   rectify   the

situation before issuing a preliminary injunction. See, e.g.,

Farmer v. Brennan, 511 U.S. 825, 847 (1994).

      CONCLUSION

      In view of the foregoing, plaintiffs' motion for a preliminary

injunction is being denied in part and is meritorious in one

respect. Defendants are, however, being provided an opportunity to

confirm or clarify whether they will, in view of this decision,

promptly modify 400 C.M.R. §5.03(2) to remove the second required

paragraph, at least until this case is decided on the merits. If

not, the court will issue a preliminary injunction directing them

to do so.

      The motion for preliminary injunction has been decided based

on the facts that existed on April 20, 2020, when the Moratorium

was enacted. However, as explained earlier, "[a] law depending


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upon the existence of an emergency or other certain state of facts

to uphold it may cease to operate if the emergency ceases or the

facts change even though valid when passed." Chastleton, 264 U.S.

at 547-48. In addition, the court has found that plaintiffs are

not likely to prevail on some of their claims in part because when

enacted the Moratorium was intended to be temporary and, initially

at least, brief. The length of time for which the Moratorium is in

effect    will   be    relevant    to   whether     it   continues   to    be

constitutional.       Elected   officials   share    with   the   courts    a

responsibility to assure that statutes and regulations do not

violate the Constitution. The degree of deference accorded to their

judgments by courts in the future will be influenced by whether

they carefully consider the requirements of the Constitution and

any changed facts in deciding whether the Moratorium should be

continued and, if so, whether its provisions should be revised.

     As stated at the September 10, 2020 hearing at which the court

informed the parties of how it planned to rule on the motion for

preliminary injunction, the court is now ordering the parties to

continue to confer and to report their respective views on how

this case should proceed.

     ORDER

     In view of the foregoing, it is hereby ORDERED that:

     1.      For the reasons stated during the August 24, 2020 hearing

concerning possible abstention, Defendants' Motion to Dismiss or


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in   the   Alternative    to    Stay   (Dkt.   No.   26)   is   DENIED   without

prejudice.

      2.     Defendants' Motion to Dismiss Counts II, III, and V of

the Amended Complaint (Dkt. No. 69) is RESERVED.

      3.     Pacific Legal Foundation's Motion for Leave to File a

Brief as Amicus Curiae (Dkt. No. 103) is DENIED.

      4.     Plaintiffs' and Defendants' Motions for Leave to File

Excess     Pages   in   their   respective     filings     on   the   Motion   for

Preliminary Injunction (Dkt. Nos. 5, 31, 71) are ALLOWED.

      5.     Plaintiffs' Motion to Strike Defendants' Supplemental

Opposition to the Motion for Preliminary Injunction (Dkt. No. 117)

is DENIED.

      6.     Plaintiffs' Motion for Preliminary Injunction (Dkt. No.

2) is DENIED with regard to Counts I, II, IV, and V, and RESERVED

concerning the compelled speech claim in Count III, which is in

part meritorious.

      7.     By October 2, 2020, at 12:00 noon, the parties shall

confer and:

             a.    Defendants shall report whether they will promptly

modify 400 C.M.R. §5.03(2) to remove the second required paragraph

and, if so, how they will give public notice that it is no longer

operative and will not be enforced at least until this case is

decided on the merits.




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